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 1   Amanda Tessar (admitted pro hac vice)
     ATessar@perkinscoie.com
 2   PERKINS COIE LLP
 3   1900 Sixteenth Street, Suite 1400
     Denver, CO 80202-5255
 4   Telephone: 303.291.2300
     Facsimile: 303.291.2400
 5
     Ramsey Al-Salam
 6   RAlsalam@perkinscoie.com
     PERKINS COIE LLP
 7   1201 Third Avenue Suite 4900 - Mailstop 43-52
     Seattle, WA 98101-3099
 8   Telephone: 206.359.6385
     Facsimile: 206.359.7385
 9
10   ATTORNEYS FOR PLAINTIFFS
     (Additional Counsel Listed on Signature Page)
11
                         UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
13
14   MACOM TECHNOLOGY                        Case No. CV 16-02859 CAS (PLAx)
     SOLUTIONS HOLDINGS, INC., a
15   Delaware corporation, and               FOURTH AMENDED COMPLAINT
     NITRONEX, LLC, a Delaware limited       FOR BREACH OF CONTRACT
16   liability company,                      AND DECLARATORY JUDGMENT
17                     Plaintiffs,
           v.                                REDACTED VERSION OF
18                                           DOCUMENT FILED UNDER SEAL
     INFINEON TECHNOLOGIES AG, a             PURSUANT TO ORDER OF THE
19
     corporation organized under the laws of COURT DATED MAY 22, 2018
20   Germany, and INFINEON
     TECHNOLOGIES AMERICAS
21   CORP., a Delaware corporation,

22                     Defendants.

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 1          Plaintiffs MACOM Technology Solutions Holdings, Inc. (“MACOM”) and
 2   Nitronex, LLC (“Nitronex”) (collectively, “Plaintiffs”) file this Fourth Amended
 3   Complaint for Breach of Contract and Declaratory Judgment against Defendant
 4   Infineon Technologies Americas Corp. (“Infineon Americas”) and for Intentional
 5   Interference with Contract and Unfair Competition against Defendant Infineon
 6   Technologies AG (“Infineon AG”) (collectively with Infineon Americas,
 7   “Infineon” or “Defendants”), stating as follows: 1
 8                              SUMMARY OF THE CASE
 9          1.    Beginning in the late 1990s, Nitronex Corporation developed and
10   pioneered the use of gallium nitride (“GaN”) in the design and manufacture of
11   semiconductor chips, focusing specifically on the use of gallium nitride-on-silicon
12   (“GaN-on-Si”) for radio frequency (“RF”) products. As a result of its innovations,
13   Nitronex was awarded approximately three dozen United States patents covering
14   the use of gallium nitride in semiconductor products.
15          2.    In 2010, Nitronex Corporation (the predecessor-in-interest to
16   MACOM) and International Rectifier Corporation (the predecessor to Infineon)
17   entered into an intellectual property purchase agreement (the “2010 IP Purchase
18   Agreement”) and a license agreement (the “2010 License Agreement”) under which
19   (a) Nitronex sold its patents and patent applications relating to GaN-on-Si
20   semiconductor technology (“Nitronex Patents”) to International Rectifier, (b)
21   International Rectifier granted back to Nitronex licenses to continue to use the
22
     1
         Plaintiffs’ original Complaint and First Amended Complaint alleged breach of
23
         contract and declaratory judgment claims against both Infineon AG and Infineon
24       Americas and an alternative claim for intentional interference with contract
25       against Infineon AG. The Court’s order dated October 31, 2016, granted
         without prejudice Infineon AG’s motion to dismiss the breach of contract and
26       declaratory judgment claims against it for lack of subject matter jurisdiction.
27       Plaintiffs reserve the right to further amend the complaint to add Infineon AG as
         a party to the contract and declaratory judgment claims if facts later show
28       Infineon AG to be an appropriate party to such claims.
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 1   Nitronex Patents to develop and sell GaN-on-Si RF products, including an
 2   exclusive license to use the Nitronex Patents to develop and sell GaN-on-Si RF
 3   products in certain market segments, (c) International Rectifier expressly promised
 4   that it would not directly or indirectly market, sell or service products in Nitronex’s
 5   exclusive market segments; and (d)
 6
 7                                              The agreements also called for International
 8   Rectifier and Nitronex
 9                                          and to cooperate in
10        the licensing and enforcement of the Nitronex Patents.
11         3.     For several years thereafter, Nitronex (and, after its acquisition of
12   Nitronex, MACOM) and International Rectifier had a cooperative working
13   relationship, with Nitronex/MACOM using the patented technology developed by
14   Nitronex for continued development and sales of GaN-on-Si RF products and
15   International Rectifier using the patented technology to develop its permitted GaN-
16   on-Si power management products.
17         4.     In 2015, however, Infineon AG, a very large German semiconductor
18   company that produces both power management and RF products, purchased
19   International Rectifier. Almost immediately after the completion of its acquisition
20   of International Rectifier, Infineon began to try to “renegotiate” the agreements
21   between Nitronex and International Rectifier to obtain rights to use the Nitronex
22   Patents to develop GaN-on-Si RF products in MACOM’s exclusive field. Infineon
23   repeatedly demanded that MACOM give up its exclusive rights to use the Nitronex
24   Patents in certain burgeoning GaN-on-Si RF markets so that Infineon could use the
25   Nitronex Patents to enter those markets. MACOM consistently made it clear to
26   Infineon that it was unwilling to give up its exclusive rights.
27         5.     Infineon was not willing to take no for an answer, however. Thus, on
28   February 2, 2016, Infineon notified MACOM that MACOM had supposedly
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 1   committed a “material breach” of the 2010 License Agreement because it was
 2   selling an entirely different category of products than those addressed in the
 3   Nitronex-International Rectifier agreements—GaN-on-silicon carbide (“GaN-on-
 4   SiC”) products. Without identifying any specific MACOM GaN-on-SiC products,
 5   Infineon further took the position that MACOM’s sales of GaN-on-SiC products
 6   purportedly infringed one or more unidentified Nitronex Patents, which Infineon
 7   was now broadly reading to cover products beyond just GaN-on-Si products. On
 8   February 11, 2016, MACOM responded that it had not committed any breach of the
 9   agreements because: (a) the agreements did not prohibit MACOM from selling
10   GaN-on-SiC; (b) even if the complained-of MACOM conduct could be considered
11   a breach, it was at most a de minimis breach due to the low volume of MACOM’s
12   GaN-on-SiC sales; and (c) in any event, any alleged breach had been cured because
13   the third-party supplier of the wafers for MACOM’s GaN-on-SiC products had
14   notified MACOM that it would no longer manufacture products for MACOM.
15   MACOM offered to provide Infineon with copies of its sales figures for GaN-on-
16   SiC under an NDA so that Infineon could confirm the de minimis sales volumes for
17   those products. Infineon never responded to MACOM’s offer. Instead, without
18   further communication or discussion with MACOM, Infineon sent MACOM a
19   letter on March 22, 2016, stating that Infineon was “terminating” the 2010 License
20   Agreement.
21         6.     MACOM has not breached its agreements with Infineon. Infineon’s
22   claim of “breach” is nothing more than a bad faith pretext for Infineon to harm
23   MACOM and claim that MACOM no longer has any rights to use the Nitronex
24   Patents and that Infineon is now free to use the patents to develop GaN-on-Si RF
25   products in MACOM’s exclusive fields.
26         7.     Infineon’s purported “termination” of MACOM’s rights with respect
27   to the Nitronex Patents is without cause or basis and was done in bad faith and thus
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 1   is itself a material breach of the agreements between MACOM/Nitronex and
 2   International Rectifier.
 3         8.      Accordingly, Plaintiffs brought this action seeking a declaration that
 4   Infineon Americas’ purported termination of the 2010 License Agreement is not
 5   valid and is without effect, and that the agreement is still in full force and effect,
 6   including MACOM’s exclusive rights to use the patents for certain GaN-on-Si RF
 7   products. Plaintiffs also seek a declaration that their development and sale of GaN-
 8   on-Si RF products does not infringe the Nitronex Patents because MACOM’s
 9   activities are licensed under the 2010 License Agreement. Plaintiffs also bring
10   claims for breach of contract and breach of the covenant of good faith and fair
11   dealing against Infineon Americas for Infineon Americas’ wrongful and pretextual
12   “termination” of the 2010 License Agreement.
13         9.      Infineon AG and Infineon Americas have, separately and collectively,
14   engaged in numerous other activities that have breached the Agreements, breached
15   the implied covenant of good faith and fair dealing, undermined the value of
16   MACOM’s contractual rights, and harmed MACOM. These actions include, but
17   are not limited to:
18               Infineon has designed, developed, and marketed GaN-on-Si RF
19                products and technologies for use in cellular base station
                  applications—i.e., products squarely in MACOM’s exclusive field that
20                Infineon promised that it would not market and sell. Moreover,
                  Infineon has marketed these products to key base station customers.
21
                 Since entry of the injunction in this case, Infineon Americas—at the
22                direction and instruction of Infineon AG—made the decision to
23                ostensibly exit the RF Power business that developed, marketed, and
                  sold RF base station products. It did so in a bad faith manner designed
24                to circumvent its obligations under the 2010 License Agreement,
                  however, and in a manner that enabled its corporate affiliates to pick
25                up precisely where it had left off with respect to GaN-on-Si RF base
                  station products. Namely, Infineon Americas
26
27
28                 Meanwhile, having artificially maximized the value of the remnants of
                                           -4-
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                its RF Power business (i.e., the GaN-on-SiC and LDMOS pieces of
 1              that business) through its breaches of its Agreements with MACOM
 2              (and market confusion it sowed relating to them), it sold those
                businesses at an inflated price to a third-party buyer. Specifically, on
 3              March 8, 2018, Infineon announced the sale of those businesses to
                Cree, Inc. for $430 million (€345 million).
 4
              Infineon has further breached the agreements between the parties by
 5             failing to take steps to address infringement of certain of the Nitronex
 6             Patents, as required by the IP Purchase Agreement. By the terms of
               the agreements, if Infineon fails to take timely action to address
 7             infringement, it must assign back to MACOM the relevant patents so
               that MACOM can enforce them. MACOM has identified actual
 8             infringement of many of the Nitronex Patents (including by Infineon
 9             AG), but Infineon has failed to address that infringement within the
               time period required by the parties’ agreements and has failed to assign
10             back to MACOM the relevant patents.
11            Additionally, in December of 2015, prior to the filing of this suit,
               Infineon gave MACOM notice that it intended to assign certain
12             Nitronex Patents to an undisclosed third party. MACOM objected to
13             that proposed action as being a breach of the parties’ agreements.
               Unbeknownst to MACOM at the time, and as only disclosed by
14             Infineon two years into this litigation, Infineon Americas then instead
15                                                               just before this suit
                was filed.
16
17                     Although Infineon Americas is allowed by the terms of the
                Agreements to                           , it is not allowed to
18
                                              . Nevertheless, Infineon purported to
19                                                                 Moreover, Infineon
20              had

21
                                                                On information and
22              belief, these actions were taken in bad faith. Notably, Infineon did not
                disclose the existence of the relevant agreement until late March 2018,
23              more than two years after it was signed.
24
              Additionally, Infineon is undermining the value of the Nitronex
25             Patents and MACOM’s rights under the 2010 License and IP Purchase
               Agreements by taking the position that many or all of the Nitronex
26             Patents are invalid, including even those patents that International
               Rectifier and Infineon itself prosecuted from the patent applications
27             transferred by Nitronex. Infineon’s predecessor paid              for
28             these patents and applications, and it induced MACOM’s predecessor

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                  to part with them based on promises of exclusivity in certain fields
 1                thereafter. Now, Infineon would rather have the patents declared
 2                invalid, so that it is not barred from practicing them, than honor its
                  commitments to MACOM. But such attempts by Infineon to avoid its
 3                contractual obligations constitute breaches of the duty of good faith
                  and fair dealing implied in every California contract.
 4
           10.    Plaintiffs also state a claim for intentional interference with contract
 5
     under California state law against Infineon AG, based on, among other actions,
 6
     Infineon AG’s acts to cause Infineon Americas to: purport to terminate the 2010
 7
     License and IP Agreements;
 8
                       ; fail to enforce the Nitronex Patents against entities practicing
 9
     them (including Infineon AG itself); engage in licensing activity for the Nitronex
10
     Patents in contravention of the 2010 License and IP Agreements and without proper
11
     notice or consent, consideration, or royalty-sharing; sell aspects of its RF power
12
     business at an inflated rate based on Infineon’s wrongful acts; attempt to sell
13
     Nitronex Patents in violation of the 2010 License and IP Agreements; and minimize
14
     the value of Nitronex Patents by arguing that they are invalid. These unlawful
15
     activities additionally constitute the basis for unfair competition in violation of
16
     California Business and Professions Code §17200 et seq., asserted against Infineon
17
     AG.
18
                                           PARTIES
19
           11.    Plaintiff MACOM is a Delaware corporation having its principal place
20
     of business and headquarters at 100 Chelmsford Street, Lowell, Massachusetts.
21
           12.    Plaintiff Nitronex, LLC is a Delaware limited liability company with
22
     its principal place of business at 100 Chelmsford Street, Lowell, Massachusetts.
23
     Nitronex, LLC is the successor to Nitronex Corporation and is a wholly-owned
24
     subsidiary of MACOM.
25
           13.    Defendant Infineon Technologies AG (“Infineon AG”) is a type of
26
     German corporation, an Aktiengesellschaft, having its headquarters and principal
27
     place of business at Am Campeon 1-12 85579 Neubiberg, Bavaria, Germany.
28
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 1          14.   Defendant Infineon Technologies Americas Corp. (“Infineon
 2   Americas”) is a Delaware corporation having its headquarters and principal place of
 3   business at the former International Rectifier Corporation (“International Rectifier”)
 4   headquarters at 101 N. Sepulveda Boulevard, El Segundo, California. Infineon
 5   Americas is a wholly-owned subsidiary of Infineon AG. 2
 6                             JURISDICTION AND VENUE
 7          15.   This Fourth Amended Complaint includes a count for declaratory
 8   relief under the patent laws of the United States, 35 U.S.C. §§ 1, et seq.
 9          16.   Plaintiffs seek declaratory relief under 28 U.S.C. §§ 2201 and 2202.
10          17.   This Court has subject matter jurisdiction over the claims alleged in
11   this action under 28 U.S.C. §§ 1331, 1338, 1367(a), 2201, and 2202 because this
12   Court has exclusive jurisdiction over declaratory judgment claims arising under the
13   patent laws of the United States pursuant to 28 U.S.C. §§ 1331, 1338, 2201, and
14   2202. This Court has jurisdiction over the remaining claims pleaded in this action
15
16
     2
         MACOM’s original complaint named another defendant, International Rectifier
17       Corporation, based on the fact that the United States Patent & Trademark Office
18       (“PTO”) assignment database showed that International Rectifier was still the
         identified assignee/owner of most of the Nitronex Patents. Infineon has now
19       represented in its litigation filings to this Court that International Rectifier no
20       longer exists as an entity, having changed its name to Infineon Technologies
         Americas Corp. (Dkt. No. 56 at 2:24-3:8.) The PTO records do contain an
21       assignment by International Rectifier to Infineon Americas of a fraction of the
22       Nitronex Patents. Nevertheless, as of the date of the filing of this Fourth
         Amended Complaint, the PTO’s Patent and Trademark Assignment Database
23       continues to list International Rectifier Corporation as the assignee of many of
24       the Nitronex Patents. While MACOM accepts Infineon’s representations that
         International Rectifier no longer exists or owns the Nitronex Patents, MACOM
25       also reserves its rights to amend the complaint to re-name International Rectifier
26       as a defendant if the facts later show that International Rectifier is still an
         ongoing entity that owns any of the Nitronex Patents or maintains any rights or
27       obligations with respect to the Nitronex-International Rectifier agreements that
28       are the subject of MACOM’s claims.
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 1   that do not arise under the patent laws pursuant to 28 U.S.C. § 1367, insofar as they
 2   are related to the other claims in the action and form part of the same case or
 3   controversy, as well as pursuant to the Declaratory Judgment Act, 28 U.S.C.
 4   § 2201(a).
 5                                     Infineon Americas
 6         18.    This Court has personal jurisdiction over Infineon Americas because it
 7   maintains a principal place of business in El Segundo, Los Angeles County,
 8   California, maintains research and development offices in this District in Torrance,
 9   California and a production facility in this District in Temecula, California, and has
10   purposefully availed itself of the privilege of conducting business in this District
11   such that it should reasonably and fairly anticipate being brought into court in this
12   District. Further, based on the representation to this Court by Defendants that
13   International Rectifier changed its name to Infineon Technologies Americas Corp.
14   and succeeded to International Rectifier’s rights and obligations under the
15   Nitronex-International Rectifier agreements, including the 2010 License Agreement
16   and the 2010 IP Purchase Agreement, Infineon Americas has consented to the
17   personal jurisdiction and venue of the courts located in Los Angeles County,
18   California because both agreements contain provisions stating all disputes relating
19   to the agreements should be heard by the federal and state courts of Los Angeles
20   County and consenting to personal jurisdiction in those courts.
21                                          Infineon AG
22         19.    This Court has personal jurisdiction over Infineon AG because it has
23   intentionally engaged in actions within this District that form the basis of Plaintiffs’
24   claims against Infineon AG and/or has directed to this District the actions that form
25   the basis of Plaintiffs’ claims against Infineon AG and intentionally caused harm it
26   knew would be felt in this District.
27         20.    Infineon AG directs and controls all activities relating to the GaN
28   business of Infineon Americas and other Infineon affiliates, including the actions at
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 1   issue in this matter. On information and belief, Infineon AG exercises control over
 2   Infineon Americas’ day-to-day activities, including product development, sales,
 3   contracts, and intellectual property.
 4         21.    For example, Infineon AG’s Annual Report from 2015 (available at:
 5   http://www.infineon.com/dgdl/Jahresfinanzbericht_zum_30._September_2015_%2
 6   8EN%29.pdf?fileId=5546d46150cc1eda015142a4caeb04f7) states that Infineon
 7   “acquired International Rectifier with the goal to systematically combine the
 8   strengths of the two groups [International Rectifier and Infineon].” Infineon further
 9   stated that the “sales structures of the two businesses” were merged by the end of
10   March 2015. Infineon’s annual report also states that “effective October 1, 2015,
11   International Rectifier has been fully absorbed within three segments” of Infineon’s
12   business (specifically, Automotive, Industrial Power Control, and Power
13   Management & Multimarket). Infineon went on in this report to investors to
14   highlight the role that acquiring and integrating International Rectifier’s GaN
15   technology played in the acquisition: “[A]nother important aspect of integrating
16   International Rectifier is to combine all development activities relating to GaN-
17   based power semiconductors. International Rectifier is a global leader in applying
18   GaN layers onto standard silicon wafers.”
19         22.    In its 2015 Annual Report, Infineon AG also reports revenue, assets,
20   and liabilities for International Rectifier (now Infineon Americas) on a fully-
21   integrated basis with the revenues, assets, and liabilities for Infineon AG and all
22   other Infineon AG subsidiaries. Infineon AG similarly includes International
23   Rectifier’s employees (now Infineon Americas’ employees) in its discussion of
24   Infineon AG employees. It also states that production of some of International
25   Rectifier products will be transferred to Infineon AG plants, including plants in
26   Dresden, Germany. On information and belief, the transferred products include at
27   least some and perhaps all of International Rectifier’s GaN-on-Si power
28   management products.
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 1         23.    Additionally, on January 13, 2015, Infineon AG stated in a press
 2   release that International Rectifier “has become part of Infineon,” subject to
 3   necessary regulatory and shareholder approvals, and prominently features a photo
 4   of Infineon AG’s executive team of A. Mittal, R. Ploss, and D. Asam for use with
 5   the press release (available at: http://www.infineon.com/cms/en/about-
 6   infineon/press/press-releases/2015/INFXX201501-020.html). On information and
 7   belief, Infineon AG’s and the former International Rectifier’s GaN business is now
 8   part of Infineon AG’s Power Management and Multimarket (PMM) group. On
 9   information and belief, the PMM division is headquartered in Germany and most, if
10   not all, of the PMM division’s management board members are employees of
11   Infineon AG and work in Germany. Further, in its 2015 Annual Report, Infineon
12   AG stated that it was “combin[ing] all [of Infineon AG’s and International
13   Rectifier’s] development activity relating to GaN-based power semiconductors.”
14         24.    On information and belief, Infineon Americas does not have a separate
15   website or offer different products from Infineon AG. Instead, both Infineon AG
16   and Infineon Americas share the website www.infineon.com, which prominently
17   features the Infineon logo (without indication of which affiliate that it is associated
18   with) and which repeatedly and consistently refers to “Infineon” generically,
19   without differentiation between Infineon AG, on the one hand, and any of its
20   various subsidiaries and affiliates, on the other.
21         25.    Infineon AG also states in its 2015 Annual Report that its patent
22   portfolio includes the patents it acquired through the acquisition of International
23   Rectifier. On information and belief, this includes the patents assigned to
24   International Rectifier by Nitronex that are the subject of MACOM’s claim for
25   declaratory judgment of noninfringement below.
26         26.    On September 8, 2015, Infineon AG stated in a press release that it had
27   a “broadened patent portfolio related to GaN” due to its acquisition of International
28   Rectifier (available at: http://www.infineon.com/cms/en/about-infineon/press/press-
                                          -10-
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 1   releases/2015/INFPMM201509-077.html). On information and belief, this includes
 2   the patents assigned to International Rectifier by Nitronex that are the subject of
 3   MACOM’s claim for declaratory judgment of noninfringement.
 4         27.    Moreover, on information and belief, Infineon AG directs, controls, or
 5   acts in concert with Infineon Americas to control the disposition and enforcement
 6   of the Nitronex Patents, as well as the licensing and purported assignments of rights
 7   relating to the same; Infineon AG portrays itself in the market as having such
 8   direction and control; and Infineon AG does not and has not permitted Infineon
 9   Americas to act unilaterally or independently with respect to the Nitronex Patents.
10   Even if Infineon AG does not formally have title to the Nitronex Patents, to the
11   extent that Infineon AG or its subsidiaries other than Infineon Americas have
12   engaged in the design and manufacture of GaN-on-Si products,
13
14
15
16         28.    Infineon AG employees in Germany, along with Infineon Americas
17   employees in California, participated by phone in the 2015 and 2016 negotiations
18   with MACOM regarding the Nitronex-International Rectifier agreements, and
19   Infineon Americas employees told MACOM that Infineon AG had the decision-
20   making authority regarding those agreements.
21         29.    Confirming Infineon AG’s interest in the Nitronex Patents and the
22   Nitronex-International Rectifier agreements as a whole, as well as Infineon AG’s
23   failure to respect corporate formalities and divisions, Infineon AG—not Infineon
24   Americas—signed the parties’ Common Interest Agreement in 2015 when
25   MACOM and Infineon agreed to work together,
26                                                    in connection with patent
27   prosecution issues for ongoing continuation applications in the Nitronex Patent
28   families. Infineon AG stated in the Common Interest Agreement that its signature
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 1   was both “for themselves and on behalf of any affiliates involved in the prosecution
 2   of the patent applications that are the subject of this Agreement.”
 3         30.      Similarly,
 4
 5
 6
 7
 8
 9
10
11         31.      Infineon AG’s control over Infineon Americas is so pervasive and
12   continuous that Infineon Americas is nothing more than an agent or instrumentality
13   of Infineon AG. Consistent with Infineon AG’s direction and control over all
14   aspects of Infineon Americas’ GaN business and other Infineon affiliates, Infineon
15   AG made, directed, and/or controlled the decisions that led to the acts alleged in
16   this Fourth Amended Complaint, including the decisions to: (a) wrongfully and
17   pretextually terminate the 2010 License Agreement; (b) develop and market (or to
18   continue developing and marketing and/or transfer activities from Infineon
19   Americas to other Infineon affiliates for) GaN-on-Si RF products within
20   MACOM’s exclusive field under the 2010 License Agreement, despite
21   International Rectifier’s promise not to do so; (c) refuse to take action against
22   infringers of the Nitronex Patents; (d) after failing to take such action, refuse to
23   assign back to MACOM certain of the Nitronex Patents; (e) purport to assign away
24   certain enforcement rights for the Nitronex Patents in contravention of Section 4.02
25   of the IP Purchase Agreement; and (f) take the position that the Nitronex Patents
26   are invalid.
27         32.      As described above, Infineon Americas functions as Infineon AG’s
28   representative/agent and performs services for Infineon AG that are sufficiently
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 1   important such that, if Infineon Americas did not perform them, Infineon AG’s own
 2   officials would undertake to perform substantially similar services.
 3         33.    On information and belief, for the reasons as described above, there is
 4   such unity of interest and ownership between Infineon AG and Infineon Americas
 5   that the separate personalities of the two entities no longer exist.
 6         34.    Infineon’s actions alleged in this Fourth Amended Complaint were
 7   taken in bad faith, with an improper purpose, and by improper means. Failure to
 8   disregard Infineon AG and Infineon Americas’ purportedly separate identities
 9   would result in an injustice to MACOM.
10         35.    Infineon AG intentionally acquired a California corporation precisely
11   because of the very GaN products and GaN business that are the subject of
12   MACOM’s claims here, renamed the entity through a merger with a subsidiary,
13   and, on information and belief, directed its new subsidiary to wrongfully terminate
14   its contracts with MACOM. On information and belief, Infineon AG’s actions
15   were all intended to disrupt the promises made by International Rectifier to
16   Nitronex/MACOM.
17         36.    On information and belief, based on the timing of Infineon’s attempts
18   to disrupt the International Rectifier-Nitronex agreements, it appears that Infineon
19   AG must have planned to do so even before its $3 billion acquisition of
20   International Rectifier and that, indeed, the acquisition was motivated by a
21   wrongful desire to usurp MACOM’s exclusive rights and markets.
22         37.    In the alternative, Infineon AG’s actions described herein indicate a
23   ratification or intent by Infineon AG to be bound by the Nitronex-International
24   Rectifier agreements, including the 2010 IP Purchase Agreement and the 2010
25   License Agreement. Infineon AG ratified these agreements by taking them over,
26   attempting to renegotiate their terms, and then purporting to terminate the 2010
27   License Agreement.
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                                          -13-
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 1         38.    Infineon AG has succeeded to the rights and obligations of Infineon
 2   Americas under the 2010 License Agreement and the 2010 IP Purchase Agreement
 3   through ratification and/or because Infineon Americas is merely the alter ego or
 4   acting as an agent of Infineon AG. Through such succession and through all the
 5   conduct described above by which Infineon AG directed Infineon AG’s own or
 6   Infineon Americas’ actions regarding the Nitronex-International Rectifier
 7   agreements (including the 2010 IP Purchase Agreement and the 2010 License
 8   Agreement) into this District, Infineon AG consented to the personal jurisdiction
 9   and venue of the courts located in Los Angeles County, California because both
10   agreements contain provisions stating all disputes relating to the agreements should
11   be heard by the federal and state courts of Los Angeles County and consenting to
12   personal jurisdiction in those courts.
13         39.    Further, to the extent that Infineon AG has not succeeded to
14   International Rectifier’s rights under the 2010 IP Purchase and License
15   Agreements, 3 it has purposefully submitted itself to the jurisdiction of the courts of
16   this District by intentionally engaging in conduct aimed at this District and resulting
17   in harm it knew was likely to be felt in this District, including intentionally
18   interfering with contracts of Infineon Americas, who is located in this District, and
19   MACOM, who has offices in this district, which contracts Infineon AG additionally
20   knew had forum selection causes requiring disputes about those contracts to be
21   resolved in the federal and state courts of Los Angeles County.
22                                            Venue
23
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25   3
         To the extent that Infineon AG has not succeeded to International Rectifier’s
26       rights and obligations, then Infineon Americas succeeded to International
27       Rectifier’s rights and obligations in the 2010 License Agreement at the
         insistence of and under the control of Infineon AG, and it did so as Infineon
28       AG’s agent.
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 1         40.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1400(b) and
 2   1391 for the reasons stated above and because the parties have consented to the
 3   personal jurisdiction and venue of the courts located in the Los Angeles County,
 4   California.
 5                              FACTUAL BACKGROUND
 6         41.     The causes of action in this Fourth Amended Complaint relate to
 7   contractual obligations arising from the transfer of patents from Nitronex
 8   Corporation to International Rectifier in 2010 and the licensing of certain rights in
 9   those patents back to Nitronex Corporation.
10         42.     Nitronex Corporation was formed and incorporated in February 1999
11   by graduates of the “wide bandgap” semiconductors program at North Carolina
12   State University. It was headquartered in Durham, North Carolina.
13         43.     A semiconductor is a material that conducts electrical current only
14   under certain conditions, such as when a sufficient voltage is applied to a
15   semiconductor device. Semiconductors are used extensively in the electronic
16   circuits necessary for all modern electronics. Wide bandgap semiconductors
17   specifically are made from materials that have higher energy electronic “band gaps”
18   (meaning more energy is required for an electron to transition or “jump” from the
19   valence band to the conduction band, allowing the electron to “flow” through a
20   circuit) than the traditional semiconductor material: silicon.
21         44.     Wide bandgap materials are useful because they can tolerate higher
22   temperatures than traditional semiconductor materials and have a higher power
23   density, meaning that they can handle more power in a smaller device and
24   effectively transmit high-frequency signals.
25         45.     Some of the most important wide bandgap materials are so-called
26   III-V semiconductors. These are materials that are made from the combination of
27   an element from row III of the periodic table and an element from row V of the
28   periodic table, as well as alloys of such materials. Examples include aluminum
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 1   nitride (made of aluminum and nitrogen), gallium nitride (made of gallium and
 2   nitrogen), and gallium arsenide (made of gallium and arsenic), as well as alloys of
 3   such materials. Other high bandgap materials include silicon carbide (formed of
 4   silicon and carbon) and diamond.
 5         46.    Gallium nitride in particular is a highly useful material for creating
 6   high power and high-frequency RF devices (i.e., devices that operate at radio
 7   frequencies of the electromagnetic spectrum), high-power and small form factor
 8   power management devices, and for creating certain types of light emitting diodes,
 9   as its wide bandgap and high breakdown characteristics allow it to transmit more
10   power at a higher voltage and frequency, with a smaller form factor, and because
11   gallium nitride and its alloys can naturally emit colors between red and ultra-violet
12   wavelengths without any frequency modification.
13         47.    Although wide (or “high”) bandgap semiconductors, including gallium
14   nitride, have many desirable characteristics, one significant downside to them is
15   that they are significantly more expensive to manufacture than silicon-based
16   semiconductors.
17         48.    This difference in material cost is especially important for the portion
18   of semiconductor devices known as the “substrate,” or the wafer, which is the base
19   on which most electronic devices (transistors, diodes, integrated circuits, etc.) are
20   created.
21         49.    While silicon substrates or wafers are a ubiquitous and relatively
22   inexpensive commodity in today’s economy, wafers made of more exotic high-
23   bandgap materials, such as gallium nitride, silicon carbide, or diamond can be
24   hundreds of times more expensive than traditional silicon wafers.
25         50.    Because of this difference in expense, it is highly desirable to form
26   epitaxial (i.e., deposited) layers of wide bandgap materials, including gallium
27   nitride, on less expensive substrates, such as silicon, to the extent possible.
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 1         51.    There are significant technical difficulties, however, in building certain
 2   wide bandgap semiconductors (including GaN) on silicon substrates. This is
 3   because the mismatch in the crystalline structure between, for example, gallium
 4   nitride and silicon leads to stress between the deposited gallium nitride material and
 5   the silicon substrate—and consequently the generation of crystalline lattice defects.
 6   Additionally, the thermal expansion coefficients (a representation of the amount by
 7   which a material expands as a function of temperature) between GaN and silicon
 8   are mismatched, which can result in additional stresses in the GaN-on-Si wafers,
 9   when heated or cooled, causing unacceptable wafer warp and bow or causing
10   devices to crack. These problems reduce the yield (the percentage of functioning
11   devices) for gallium nitride devices produced on silicon wafers.
12         52.    One solution to the crystalline mismatch problem is to simply use a
13   substrate that has less mismatch with gallium nitride. For example, one could use
14   silicon carbide (“SiC”), which has a crystalline structure that is much closer to
15   gallium nitride’s structure, as the substrate (“GaN-on-SiC”). Alternatively, one
16   could use gallium nitride as both the substrate material and the epitaxial layer
17   (“GaN-on-GaN”), so that there is no mismatch. The disadvantage of using silicon
18   carbide or gallium nitride substrates is that the cost of these materials is much
19   higher than the cost of silicon substrates, leading to higher overall cost devices and
20   an ultimate price point unsuited to many target markets.
21            NITRONEX PIONEERED NUMEROUS FOUNDATIONAL
22                  GALLIUM NITRIDE TECHNOLOGIES
           53.    Nitronex was an innovative startup company that pioneered
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     technologies that enabled the creation of high-performance GaN-on-Si
24
     semiconductor solutions. Specifically, Nitronex focused on high-performance
25
     gallium nitride devices formed on silicon substrates for RF applications.
26
           54.    Critical to Nitronex’s success in creating gallium nitride
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     semiconductor devices was the development of a method for reducing the effects of
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 1   the physical crystal lattice and thermal expansion mismatches between gallium
 2   nitride active layers and the silicon substrates that Nitronex desired to use as the
 3   base for its devices.
 4         55.    Rather than forming gallium nitride layers directly on the silicon
 5   substrate, which had been unsuccessful, Nitronex instead placed a graded
 6   “transition layer” between the silicon substrate and the active gallium nitride layers.
 7   This transition layer mitigates the strain caused by the mismatch in crystalline
 8   lattice spacing and thermal expansion coefficients between the gallium nitride
 9   devices and the silicon substrate below.
10         56.    Nitronex used this solution and developed a proprietary GaN-on-Si
11   manufacturing process, called the SIGANTIC® process, which solved many of the
12   problems associated with GaN-on-Si devices, allowing high-performance GaN
13   semiconductors to be formed on cost-effective silicon substrates. Nitronex used the
14   SIGANTIC® process to produce numerous RF GaN-on-Si devices.
15         57.    Nitronex’s technology was groundbreaking and ahead of its time.
16         58.    Nitronex not only pioneered a solution to solve the crystalline and
17   thermal expansion mismatch between gallium nitride devices and silicon substrates,
18   but also developed other important technologies that improved the functionality of
19   gallium nitride RF devices.
20         59.    Using its technology, Nitronex first demonstrated the capability to
21   form High Electron Mobility Transistors on 4-inch GaN-on-Si wafers in 2001.
22   This proved that Nitronex’s technology worked to create transistor devices using
23   gallium nitride active layers formed on silicon substrates.
24         60.    Later in 2001, Nitronex also demonstrated that its technology worked
25   for another important technology application of gallium nitride materials, producing
26   GaN-on-Si light emitting diode (“LED”) devices.
27         61.    Nitronex also pioneered the use of GaN-on-Si devices in high-
28   frequency RF products. Accurately predicting the future, Nitronex developed GaN-
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 1   on-Si RF products specifically designed for mobile communications. For example,
 2   in 2003, Nitronex began sending sample GaN-on-Si RF products designed for the
 3   WCDMA standard to customers. In 2004, Nitronex demonstrated the first-ever
 4   GaN-on-Si monolithic microwave integrated circuit (“MMIC”), a type of circuit
 5   that is often used in cellular devices to operate in a portion of the RF spectrum
 6   known as the microwave range (300 MHz to 300 GHz). Following that, in 2005,
 7   Nitronex introduced its GaN-on-Si product line for the WiMAX standard.
 8         62.    Nitronex’s successes in creating GaN-on-Si devices and innovations
 9   and the potential for these technologies to improve the functionality of various
10   technology fields, including RF and satellite communications, led to recognition
11   and funding from NASA and the Department of Defense. NASA and the
12   Department of Defense awarded Nitronex twenty-three grants, amounting to more
13   than $9,000,000 in total funding between 1999 and 2012.
14         63.    Nitronex also developed a significant patent portfolio based on its
15   innovations in GaN-on-Si technology.
16         64.    Nitronex’s first patent, U.S. Patent 6,611,002, entitled “Gallium
17   Nitride Material Devices and Methods Including Backside Vias,” issued on August
18   26, 2003. Shortly thereafter, on September 9, 2003, Nitronex received its second
19   patent, U.S. Patent number 6,617,060, entitled “Gallium Nitride Materials and
20   Methods.”
21         65.    To date, more than forty United States patents have issued based on
22   the foundational and groundbreaking GaN work done by Nitronex.
23                 NITRONEX AND INTERNATIONAL RECTIFIER
24                     FORM A WORKING RELATIONSHIP

25         66.    Early in its existence, Nitronex began exploring the prospect of
26   licensing some aspects of its groundbreaking technology to raise capital.
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 1         67.    At the same time, however, Nitronex wanted to ensure that it retained
 2   exclusive rights to the GaN-on-Si technologies for applications that it believed were
 3   the most critical—specifically, GaN-on-Si RF applications.
 4         68.    Nitronex therefore sought a licensing and collaboration partner who
 5   desired rights to use GaN-on-Si technology in other fields of use besides RF.
 6         69.    As of 2004, International Rectifier was a well-established company in
 7   the power management space. By 2004, International Rectifier was also working to
 8   develop and to introduce gallium nitride power management devices specifically,
 9   having recently acquired GaNRose, a company focused on gallium nitride devices,
10   but it was encountering technical challenges that limited its ability to produce
11   functioning GaN-on-Si power management products in bulk. It needed help to
12   break through these challenges to make its products successful.
13         70.    In 2004, each party found what it was seeking. Nitronex found
14   funding and a partner who was focused on the power management field (not RF),
15   and International Rectifier found the expertise in executing on GaN-on-Si products
16   that it was seeking.
17         71.    Specifically, in early 2004, International Rectifier approached
18   Nitronex to evaluate the Nitronex GaN-on-Si technology for potential use in the
19   GaN-based power management market. As International Rectifier had no internal
20   capability or know-how to manufacture its own GaN-on-Si wafers, Nitronex
21   provided GaN-on-Si devices to International Rectifier for evaluation.
22         72.    International Rectifier and Nitronex formalized their working
23   relationship in a License Agreement (“2004 License Agreement”) and Technology
24   Transfer Agreement.
25         73.    The 2004 License Agreement granted International Rectifier the
26   exclusive right to practice certain of the Nitronex Patents in only International
27   Rectifier’s field of use (power management). It also explicitly required Nitronex
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 1   and International Rectifier to work together to transfer much of Nitronex’s GaN-on-
 2   Si technology to International Rectifier.
 3         74.    Throughout 2005 and into 2006,
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12         75.    Additionally, Nitronex
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14                                                                   . Nitronex and
15   International Rectifier partnered in a working business relationship that lasted for
16   years thereafter, with each party operating in its chosen field—power management
17   for International Rectifier and RF for Nitronex. International Rectifier, and later
18   Infineon, benefitted from their relationship with Nitronex (which was later acquired
19   by MACOM). The relationship was valued so much by International Rectifier that,
20   prior to Nitronex closing on a series A-1 Preferred Stock Financing in May of 2006
21   with a new investor syndicate led by Alloy Ventures, International Rectifier made a
22   failed bid at acquiring Nitronex, which was turned down by the Nitronex Board of
23   Directors in favor of new venture financing.
24                 TRANSFER OF PATENTS FROM NITRONEX TO
25                    INTERNATIONAL RECTIFIER IN 2010
           76.    In 2008, with the benefit of Nitronex’s patented technology and
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     knowhow, International Rectifier began commercially selling GaN-on-Si power
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 1   devices, announcing that they were offering this technology as their “GaNpowIR”
 2   products.
 3         77.    By 2010, International Rectifier was producing significant quantities
 4   of its GaN-on-Si power devices, its devices having won several awards in 2009 for
 5   its GaNpowIR technology.
 6         78.    By 2010, Nitronex was producing commercial GaN-on-Si RF
 7   products, with most of Nitronex’s sales to aerospace and defense customers.
 8   Nitronex’s technology remained ahead of the mainstream, but Nitronex again
 9   needed an influx of money to continue operating its business.
10         79.    In 2010, Nitronex again sought to raise funding. In doing so, one of
11   Nitronex’s main goals was, again, to ensure that it retained exclusive rights to RF
12   applications using GaN-on-Si technologies. It was also important to Nitronex that
13   it retain rights to enforce its patent portfolio against infringement.
14         80.    With those goals expressly in mind and cognizant of the relationship it
15   had already developed with International Rectifier over the years, Nitronex
16   negotiated a series of agreements with International Rectifier that resulted in the
17   transfer of the Nitronex Patents to International Rectifier, including an IP Purchase
18   Agreement and a new License Agreement (respectively, as discussed above, the
19   “2010 IP Purchase Agreement” and the “2010 License Agreement”).
20                       THE 2010 IP PURCHASE AGREEMENT
21         81.    The 2010 IP Purchase Agreement provides that in return for
22                                                        , executing the 2010 License
23   Agreement back to Nitronex,
24
25   Nitronex would assign to International Rectifier fifty-four U.S. and international
26   patents and applications, as well as the right to file related applications. See Exhibit
27   1 (under seal), at Sections 1.01, 2.01, 2.02.
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 1         82.    The 2010 IP Purchase Agreement requires that International Rectifier
 2   and Nitronex work together regarding enforcement of the Nitronex Patents.
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 5   further requiring International Rectifier to proceed against the infringers of which it
 6   is aware:
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14   Exhibit 1, at Section 4.02 (emphasis added); see id. at Section 1.01.
15         83.    Section 4.02 further provides that if International Rectifier fails to
16   pursue in an infringement action or otherwise resolve infringement concerns in the
17   manner prescribed within three months of the notice, then Nitronex shall have the
18   right to sue the infringer and International Rectifier must take all actions requested
19   by Nitronex (including assigning back to Nitronex any patents that are subject to a
20   notice of infringement) to enable Nitronex to exercise its rights under Section 4.02:
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12   Exhibit 1 at Section 4.02 (emphasis added); see id. at Section 1.01.
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20   Id., at Section 4.01 (emphasis added).

21          86.    Since the closing of the 2010 IP Purchase Agreement, International

22   Rectifier (and then Infineon) have filed at least twenty more applications related to

23   the thirty-two United States patents and applications that claim priority to such

24   Nitronex filings and has received at least fifteen patents based on the related

25   applications that it has filed.

26          87.    Together, the thirty-two United States patents and applications, as well

27   as the related applications later filed by International Rectifier and Infineon, and

28   any additional patents that issued from these applications, comprise the “Nitronex

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 1   Patents,” including specifically at least U.S. Patents and U.S. Patent Applications
 2   Nos.: 6,649,287, 6,617,060, 8,105,921, 8,344,417, 8,592,862, 8,937,335, 8,928,034,
 3   8,928,035, 9,064,775, 9,437,686, 9,461,119, 9,437,687, 14/926,279, 6,611,002,
 4   7,233,028, 6,956,250, 7,135,720, 7,352,016, 7,569,871, 7,994,540, 7,071,498,
 5   7,361,946, 7,339,205, 7,352,015, 12/023,480, 8,748,298, 7,247,889, 7,365,374,
 6   7,791,106, 7,566,913, 8,067,786, 8,343,856, 8,859,400, 8,350,288, 8,680,570,
 7   8,946,765, 7,687,827, 8,368,117, 9,608,102, 8,026,596, 7,745,848, 8,026,581,
 8   8,358,005, 8,343,824, 8,629,453, 11/261,942, 11/543,010, 9,318,417, 15/240,789,
 9   and 15/433,473.
10         88.    The 2010 IP Purchase Agreement specifies that it will be governed by
11   the laws of California,
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23   Exhibit 1, at Section 12.02 (emphasis added).

24                         THE 2010 LICENSE AGREEMENT
25         89.    When Nitronex sold the Nitronex Patents to International Rectifier, it

26   negotiated for and obtained rights to continue to use the Nitronex Patents to

27   develop, manufacture, and sell GaN-on-Si RF products, including the exclusive

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 1   right to develop, manufacture, and sell GaN-on-Si RF products for certain
 2   applications, such as cellular base stations.
 3         90.    The 2010 License Agreement, which formed part of the consideration
 4   for the 2010 IP Purchase Agreement, provides to Nitronex a license back to the
 5   Nitronex Patents—with sole rights to sublicense—allowing both Nitronex and
 6   International Rectifier (but no one else) to practice in certain parts of the “Field of
 7   Use” of GaN-on-Si RF devices. “Field of Use” and “GaN on Silicon Technology”
 8   are defined by the agreement as follows:
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     See Exhibit 2 (under seal), at §§ 1.3, 1.4 and 2.1.
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           91.    The 2010 License Agreement further provides that Nitronex would
21
     have the exclusive right to practice the Nitronex Patents, even against
22
     International Rectifier, within Nitronex’s Exclusive Field, which included most
23
     RF applications in the Field of Use, except those that operate solely below 100MHz
24
     in frequency:
25
                  2.1. IR hereby grants to Nitronex the following: a) a
26                worldwide, royalty-free, fully paid exclusive license in
                  the Field of Use only, with right to sublicense in the Field
27                of Use only, to use the Licensed Patents to design,
28                develop, make, have made, use, offer to sell, sell and

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                  service Products
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     Id. at § 2.1; see also id. at §§ 1.2 – 1.2.9 and 1.8.
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           92.    Specifically, the 2010 License Agreement granted Nitronex exclusive
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     rights to develop and sell GaN-on-Si products for many of the most valuable RF
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     applications, including cellular telephone infrastructure base stations and repeaters:
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19   Id. at § 1.2 (emphasis added).
20         93.    Notably, International Rectifier agreed in an express negative covenant
21   that MACOM’s exclusive rights in the Exclusive Field were truly exclusive, even
22   as against International Rectifier, and not just third parties, stating, “IR itself may
23   not directly or indirectly market, sell or service Products in the Exclusive Field.”
24   See Section 2.1 of the 2010 License Agreement.
25         94.    Nowhere in the 2010 License Agreement does Nitronex expressly or
26   impliedly promise to refrain from practicing the Nitronex Patents outside of its
27   fields of use; instead, the 2010 License Agreement merely specifies the extent to
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 1   which Nitronex may practice the Nitronex Patents without fear of suit for
 2   infringement. This stands in stark contrast to the express negative covenant
 3   confirmed by International Rectifier in Section 2.1 of the 2010 License Agreement,
 4   where International Rectifier agreed not to practice in MACOM’s Exclusive Field.
 5   This makes it clear that the drafters of the agreement knew how to specify in a
 6   negative covenant what each party was prohibited from doing by the terms of the
 7   agreement, when they wanted to do so and a meeting of the minds had been reached
 8   in that regard. There was no meeting of the minds as to a prohibition on Nitronex’s
 9   use of GaN-on-SiC.
10          95.      The licenses to Nitronex (and then MACOM) in the 2010 License
11   Agreement were put in place specifically to cover existing Nitronex GaN-on-Si RF
12   products and other such products to be developed in the future, and thus to protect
13   Nitronex (and then MACOM) from patent infringement allegations following the
14   sale of the Nitronex Patents.
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21          97.      Section 7.1 provides that the 2010 License Agreement can only be
22   terminated for a breach that is both material and which is not cured within 30 days
23   of receipt of written notice of such a breach:
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     Id. at § 7.1.
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           100. Both International Rectifier and Nitronex continued to develop and
14
     manufacture devices in their chosen fields—
15
16
                            MACOM ACQUIRES NITRONEX
17
           101. In June of 2012, Nitronex Corporation was acquired by investment
18
     firm GaAs Labs, a company then (but no longer) having a common controlling
19
     stockholder with MACOM. Nitronex Corporation was thereafter converted from a
20
     corporation to a limited liability company and renamed Nitronex, LLC.
21
           102. MACOM is a semiconductor company that designs and manufactures
22
     custom devices, integrated circuits, components, modules, and assemblies for high-
23
     performance applications, including satellite, radar, wireless networks and mobile
24
     devices, and is a leading provider of high performance analog RF and photonic
25
     semiconductor products.
26
27
28
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 1         103. On February 13, 2014, MACOM announced the purchase of Nitronex,
 2   LLC from GaAs Labs, and Nitronex, LLC became a wholly-owned subsidiary of
 3   MACOM.
 4         104. MACOM acquired Nitronex because it wanted to invest its business
 5   and product development efforts on the promising GaN-on-Si market. In other
 6   words, MACOM recognized that GaN-on-Si RF devices have a lower cost structure
 7   than other competing technologies, making them suitable for cost-sensitive
 8   commercial applications, such as mobile wireless communications network base
 9   stations and commercial RF applications.
10         105. MACOM expects GaN-on-Si RF devices will be a core component of
11   its business in years to come and further believes GaN-on-Si devices may be the
12   future of commercial RF applications, bringing the high-performance of gallium
13   nitride devices together with the lower cost structure of silicon substrates, providing
14   significantly improved performance as compared to the silicon LDMOS
15   technologies that currently are common in RF chips used in mobile wireless
16   communications network base stations. Industry analysts project that GaN-on-Si
17   devices will capture a significant portion of the RF market—and that this market
18   will grow to hundreds of millions of dollars in sales per year by 2020. Infineon
19   itself predicts that the GaN-on-Si RF cellular infrastructure market (i.e., base
20   stations) will grow to $110 million by 2020 and $460 million by 2025. (See
21   http://www.infineon.com/dgdl/2016-07-14_Infineon+to+acquire+Wolfspeed_
22   Investor+Presentation.pdf?fileId=5546d46155dd90e10155e8859aae01d5, at 11, last
23   visited by MACOM on July 19, 2016.)
24         106. Nitronex assigned certain of its rights under the 2010 IP Purchase
25   Agreement to MACOM. It also sublicensed its rights under the 2010 License
26   Agreement to MACOM.
27         107. After Nitronex was acquired by GaAs Labs and later MACOM,
28   Nitronex, and then MACOM, continued—without problems—to work in parallel
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 1   with International Rectifier toward achieving common goals with respect to the
 2   Nitronex Patents and GaN-on-Si technologies. To the best of MACOM’s
 3   knowledge at the time, each company continued to operate in its designated field(s)
 4   of use.
 5              INFINEON ACQUIRES INTERNATIONAL RECTIFIER
 6         108. On August 20, 2014, Infineon Technologies AG and International
 7   Rectifier announced that they had entered into an agreement for Infineon to acquire
 8   International Rectifier.
 9         109. On information and belief, Infineon historically has produced both
10   power management and RF semiconductor devices using technologies other than
11   GaN-on-Si. Infineon’s acquisition of International Rectifier signaled its desire to
12   expand its product offerings into GaN-on-Si. Indeed, Infineon’s announcement of
13   the acquisition specifically highlighted the important role of GaN-on-Si technology
14   for Infineon:
15                   Integration complements Infineon’s expertise in power
16                   semiconductors and adds system know-how in power
                     conversion, while expanding its expertise in compound
17                   semiconductors (Gallium Nitride on Silicon) and driving
                     greater economies of scale in production.
18
                     *********************************************
19
                     With International Rectifier, Infineon acquires an
20                   advanced manufacturer in Gallium Nitride on Silicon
21                   (GaN) based power semiconductors. This combination
                     will accelerate and solidify Infineon’s position in GaN
22                   discretes and GaN system solutions, improving its ability
                     to pursue this strategically important technology platform
23                   with significant future growth potential.
24                   The transaction will result in a broad range of products
25                   creating a comprehensive provider in the market for
                     silicon-, silicon-carbide- and gallium-nitride-based power
26                   devices and integrated circuits (ICs).
27   (See http://www.infineon.com/cms/en/about-infineon/press/press-

28   releases/2014/INFXX201408-056.html.)

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 1         110. Similarly, an Infineon press release related to the acquisition described
 2   International Rectifier as:
 3                  International Rectifier is highly complementary to
 4                  Infineon: the combined company gains greater scope in
                    product portfolio and regions, especially with small and
 5                  medium enterprise customers in the US and Asia. The
                    merger taps additional system know-how in power
 6                  management. It expands the expertise in power
                    semiconductors, also combining leading knowledge in
 7                  compound semiconductors, namely Gallium Nitride.
 8                  Furthermore, the acquisition will drive greater economies
                    of scale in production, strengthening the competitiveness
 9                  of the combined company.
10   See http://www.infineon.com/cms/en/about-infineon/press/press-
11   releases/2015/INFXX201501-020.html.
12         111. On January 13, 2015, Infineon Technologies AG announced that it had
13   closed the acquisition of International Rectifier.
14         112. Based on Infineon’s representations, International Rectifier ceased to
15   exist as an operating entity in mid-2015. International Rectifier manufactured
16   power management semiconductor devices and products prior to and for at least for
17   some time after its acquisition by Infineon, on information and belief, including
18   GaN-on-Si power management products. Infineon has continued to produce at least
19   some of these and possibly other GaN-on-Si power management products after the
20   acquisition.
21         113. United States PTO records continue to list International Rectifier as
22   the current assignee of most of the Nitronex Patents. Based on Infineon’s
23   representations, however, title to the Nitronex Patents has actually now passed to
24   Infineon Americas, regardless of what the PTO’s records reflect.
25         114. On information and belief, Infineon AG spent approximately $3 billion
26   to acquire International Rectifier not only because it wanted to continue producing
27   the GaN-on-Si power management devices that International Rectifier already had
28   in its portfolio at the time, but also to disrupt and thwart the purposes of the

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 1   Nitronex-International Rectifier agreements and expand into MACOM’s (and
 2   formerly Nitronex’s) core GaN-on-Si business area, RF products, including
 3   MACOM’s exclusive field of cellular base stations.
 4         115.
 5                                                       Infineon AG knew at the time it
 6   acquired International Rectifier that it was impossible to make and sell GaN-on-Si
 7   in any commercially practical way without practicing the Nitronex Patents.
 8         116. Infineon has stated that GaN-on-Si will be the technology having the
 9   largest share of the RF power cellular infrastructure market by 2025 ($460M,
10   compared to only $380M for GaN-on-SiC and $280M for Si (LDMOS)).
11        INFINEON ATTEMPTS TO DISRUPT AND RENEGOTIATE THE
12                     IR/NITRONEX AGREEMENTS
           117. Almost immediately after Infineon AG acquired International
13
     Rectifier, it continued to execute on its plan to disrupt or “renegotiate” the
14
     Nitronex-International Rectifier agreements in order to gain rights to use the
15
     Nitronex Patents to develop GaN-on-Si products within MACOM’s Exclusive
16
     Field. Infineon consistently attempted to thwart the purposes of the 2010 IP
17
     Purchase Agreement and the 2010 License Agreement.
18
           118. For instance, just two weeks after the acquisition had closed, Infineon
19
     sent MACOM a letter complaining about the contents of a year-old press release
20
     that MACOM had previously issued without any protest (or even comment) by
21
     International Rectifier. That press release, dated April 1, 2014, merely announced
22
     that MACOM had reached an agreement with a supplier of its GaN-on-Si wafers
23
     for RF applications that included a license to MACOM’s intellectual property
24
     rights—exactly as permitted by the underlying 2010 License Agreement with
25
     International Rectifier.
26
           119. Infineon’s letter nevertheless accused MACOM of acting outside of
27
     the 2010 License Agreement.
28
                                          -35-
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 1         120. Though these accusations were completely without basis, as MACOM
 2   explained in a response letter to Infineon and International Rectifier, Infineon and
 3   International Rectifier also sent a letter to MACOM’s supplier, complaining of the
 4   potential “proliferation of [International Rectifier’s] patented technology” and
 5   asking MACOM’s supplier to discuss “the legal basis upon which [it] intends to
 6   operate.” This was the first, but not the last instance, of Infineon making pretextual
 7   and contrived arguments and threats in an illegitimate attempt to “chill” MACOM’s
 8   legitimate practice of its rights in accordance with the terms of the Nitronex-
 9   International Rectifier agreements, including the 2010 IP Purchase Agreement and
10   the 2010 License Agreement.
11         121. On information and belief, Infineon’s predominant purpose in sending
12   these letters was to interfere with MACOM’s abilities to produce GaN-on-Si RF
13   devices and to disrupt MACOM’s ongoing business relationship with its supplier.
14         122. After Infineon’s letters to MACOM and its supplier, the relationship
15   between MACOM, on the one hand, and Infineon and its subsidiaries, on the other,
16   became contentious, even though Infineon never further pursued (or even referred
17   to) the spurious allegations made in its January 2015 letters to MACOM and its
18   supplier.
19         123. For instance, later during 2015, MACOM repeatedly tried to engage
20   with Infineon regarding enforcement of the Nitronex Patents against ongoing
21   infringement. The parties had several discussions on the subject, but Infineon
22   ultimately was not interested in working with MACOM in good faith on this topic.
23         124. Instead, Infineon repeatedly raised the prospect of renegotiating the
24   2010 License and IP Purchase Agreements such that MACOM would lose its
25   exclusive rights in the RF field. Although MACOM was willing to discuss possible
26   mutually-beneficial modifications to the Nitronex-International Rectifier
27   agreements, it repeatedly made clear that it was not willing to agree to any
28
                                         -36-
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 1   modifications to the agreements that would allow Infineon rights in MACOM’s
 2   exclusive GaN-on-Si RF fields.
 3         125. Infineon’s representatives on multiple phone conversations regarding
 4   the 2010 License and IP Purchase Agreements included Infineon in-house lawyers
 5   in Germany, who are employed by Infineon AG. Indeed, in several instances,
 6   phone calls were specifically scheduled at times early in the day Pacific time to
 7   accommodate the time change so that these Infineon AG employees in Germany
 8   could participate. In some instances, only MACOM’s counsel and Infineon AG
 9   employees were on calls to discuss issues relating to the International Rectifier-
10   Nitronex agreements, whereas both Infineon AG and Infineon Americas in-house
11   counsel joined other calls. Further, Infineon Americas in-house lawyers in the U.S.
12   indicated on several occasions when MACOM’s lawyers called them directly (or
13   vice versa) that decisions regarding patent matters were controlled by Infineon in
14   Germany. MACOM understood these references to refer to Infineon AG because,
15   on information and belief, Infineon Americas does not have its own offices and
16   employees in Germany separate from Infineon AG’s.
17         126. On information and belief, Infineon AG is the decision-maker with
18   respect to its subsidiaries’ activities relating to the Nitronex Patents and the 2010 IP
19   Purchase and License Agreements. Neither the in-house lawyers for Infineon AG
20   nor the in-house lawyers for Infineon Americas who participated in the calls about
21   the Nitronex-International Rectifier agreements described above ever said anything
22   (or wrote anything in the parties’ many exchanged letters) to suggest that the
23   Infineon AG lawyers participating in these calls were acting as counsel to Infineon
24   Americas or as agents of Infineon Americas. All of these communications directly
25   related to the conduct from which many of MACOM’s claims arise.
26         127. All of Americas’ unlawful acts, including its breaches of the 2010
27   License Agreement, were committed at the insistence and under the control of
28   Infineon AG and as Infineon AG’s agent.
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 1         128. There was one instance when MACOM and Infineon managed to
 2   cooperate with respect to the Nitronex-International Rectifier agreements. In that
 3   instance, MACOM and Infineon agreed to enter into a common interest agreement
 4   to cooperate in the prosecution of the Nitronex Patents,
 5                                                                     . Notably,
 6   Infineon AG itself signed onto the Common Interest Agreement on behalf of itself
 7   and its affiliates, confirming Infineon AG’s interest in the Nitronex Patents and the
 8   underlying 2010 Nitronex-International Rectifier agreements and that Infineon AG
 9   controlled all matters relating to the Nitronex Patents and the 2010 Agreements. In
10   fact, two separate employees of Infineon AG—the very same people who were
11   involved for Infineon AG in all of the negotiations with MACOM relating to the
12   Nitronex-International Rectifier agreements—signed the common interest
13   agreement on behalf of Infineon AG. See Exhibit 3 at 5.
14       INFINEON RAISES ALLEGED GAN-ON-SIC INFRINGEMENT TO
15               INCREASE ITS NEGOTIATION LEVERAGE
           129. On its calls with MACOM, Infineon’s representatives (including
16
     Infineon AG’s representatives) stated, without providing any specifics or
17
     identifying particular patents, that Infineon believed MACOM was infringing
18
     unidentified Nitronex Patents by selling gallium nitride-on-silicon carbide (“GaN-
19
     on-SiC”) 4 devices. MACOM had not previously been aware that Infineon would
20
     take the position that the Nitronex Patents could be read to cover not just GaN-on-
21
     Si products, but also GaN-on-SiC products.
22
           130. To the best of MACOM’s knowledge, neither International Rectifier
23
     nor Infineon has ever previously (or since) claimed that any company selling GaN-
24
     on-SiC products infringes the Nitronex Patents other than MACOM. This is true
25
26
     4
         As discussed above, GaN-on-SiC must be distinguished from GaN-on-Si, which
27       is a different (although in some cases competing) technology employing a
28       substrate made from silicon carbide, rather than one made from silicon.
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 1   even though other sellers of these products have both far larger sales than MACOM
 2   and have been making those sales publicly for many more years than MACOM.
 3         131. Beginning in 2011, well before its acquisition of Nitronex—and
 4   separate and apart from the GaN-on-Si product lines, technology, and know-how it
 5   acquired from Nitronex—MACOM has at various times sold and offered to sell
 6   GaN-on-SiC products. Those MACOM GaN-on-SiC products have historically
 7   used semiconductor wafers supplied by a third party. MACOM’s sales from these
 8   product lines have always been low in volume and revenue, and MACOM’s GaN-
 9   on-SiC third-party wafer supplier notified MACOM in 2015 (completely separate
10   from any of MACOM’s discussions with Infineon about the Nitronex-International
11   Rectifier agreements) that it would no longer supply the wafers necessary to the
12   manufacture of MACOM’s GaN-on-SiC products.
13         132. Infineon’s allegations regarding GaN-on-SiC therefore coincidentally
14   came at a time when MACOM’s existing GaN-on-SiC products were being
15   discontinued anyway.
16         133. Moreover, International Rectifier never complained about MACOM’s
17   limited GaN-on-SiC sales prior to being acquired by Infineon.
18         134. MACOM repeatedly informed Infineon through both legal and
19   business channels of its low sales and the fact that its current GaN-on-SiC products
20   were being discontinued due to loss of its third-party supplier. MACOM had
21   further repeatedly offered to share its sales figures with International Rectifier
22   under an NDA—and even provided a draft of an NDA to Infineon. Infineon did not
23   express any interest in reviewing MACOM’s sales data.
24              INFINEON ATTEMPTS TO SELL A PORTION OF THE
25              NITRONEX PATENTS TO AN UNDISCLOSED BUYER
           135. In late 2015, Infineon informed MACOM that International Rectifier
26
     and/or Infineon was contemplating assigning a small number of the Nitronex
27
28
                                          -39-
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 1   Patents (not the entire portfolio) to an undisclosed third party for an undisclosed
 2   sum.
 3          136. Infineon took the position that International Rectifier and/or Infineon
 4   did not need MACOM’s consent to proceed with the assignment, despite
 5   MACOM’s unequivocal disagreement with that reading of the parties’ obligations
 6   under the 2010 IP Purchase and License Agreements. See id. Infineon further
 7   refused to identify the proposed buyer(s) or provide its position as to what would
 8   happen with respect to the provisions of the agreements
 9
10
11
12          . Infineon also refused to respond to repeated questions about whether the
13   buyer had been informed of Nitronex and MACOM’s rights under the 2010 IP
14   Purchase and License Agreements. MACOM was also left wholly uncertain as to
15   Infineon and International Rectifier’s position with respect to whether the third-
16   party buyer would be permitted to practice in the fields of use that Nitronex and
17   International Rectifier shared under the 2010 License Agreement, where only
18   Nitronex (and not Defendants) had rights to sublicense.
19          137. Section 12.12 of the 2010 IP Purchase Agreement recites, “Neither
20   Party may assign, sell, hypothecate or otherwise transfer any interest in or
21   obligation under this Agreement without the prior written consent of the other
22   Party; … Any assignment made in violation of this Section 12.12 shall be void.”
23   See Exhibit 1 at Section 12.12.
24          138. Infineon’s assignment of the Nitronex Patents without MACOM’s
25   consent would be a breach of the 2010 IP Purchase Agreement.
26          139. Given that no assignment for any Nitronex Patents was ultimately filed
27   with the Patent and Trademark Office, MACOM understood that Infineon had, at
28   least temporarily, abandoned its late 2015 plan to assign the Nitronex Patents to a
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 1   third party. It now appears, however, that
 2
 3
 4         140. Two years into this litigation, at the deadline for substantial
 5   completion of document productions in late March 2018, Infineon for the first time
 6   produced
 7
 8         141.
 9
10
11
12
13
14
15
16         142.
17
18
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20
21
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23
24         143.
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                                        -41-
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 1         144.
 2
 3
 4
 5                                                                                       .
 6         145.
 7
 8
 9
10                       .
11         146. On information and belief, Infineon acted in bad faith to
12
13
14         147. On information and belief, Infineon acted in bad faith in
15
16
17                        .
18         148. Infineon never notified MACOM of
19                                , and MACOM only discovered these documents
20   more than two years later in this litigation, when Infineon was forced to produce
21   them due to the deadline for substantial completion of document productions.
22         149. On information and belief, Infineon Americas acted under the control
23   of Infineon AG to
24                MACOM PROVIDES NOTICE OF INFRINGEMENT
25                          BY THIRD PARTIES
           150. After MACOM’s oral requests that Infineon and MACOM work
26
     together to identify infringers and begin to enforce the Nitronex Patents were
27
     repeatedly ignored, MACOM sent Infineon and International Rectifier letters on
28
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 1   January 15, 2016, May 19, 2016, May 25, 2016, June 10, 2016, June 17, 2016, June
 2   24, 2016, May 15, 2017, and July 14, 2017, formally notifying them under the 2010
 3   IP Purchase Agreement of infringement of twenty Nitronex Patents.
 4         151. Specifically, MACOM provided formal notice under Section 4.02 of
 5   the IP Purchase Agreement to Infineon and International Rectifier that an identified
 6   party was infringing at least one claim of each of U.S. Patents 6,649,287,
 7   6,617,060, 8,105,921, 8,344,417, 8,592,862, 9,064,775, 7,596,871, 7,071,498,
 8   7,687,827, 8,368,117, 6,956,250, 8,937,335, 8,928,034, 8,928,035, 8,026,596,
 9   9,461,119, 9,437,686, 7,135,720, 7,352,016, and 7,994,540 by making and selling
10   GaN-on-Si products. The MACOM letters also identified specific products made
11   by the identified parties as infringing and provided a detailed reverse engineering
12   analysis for each identified product, unequivocally demonstrating a reasonable
13   basis for the allegation of infringement.
14         152. The identified patents included some for which, unbeknownst to
15   MACOM, Infineon had purported to
16   Infineon’s responses to the notice letters relating to the Nitronex Patents that
17                                                   did not indicate that Infineon had
18   already                                                for those Nitronex Patents.
19   Infineon remained entirely silent on that issue.
20         153. MACOM also stated that it would deem the January 15th, 2016, May
21   19, 2016, May 25, 2016, June 10, 2016, June 17, 2016, June 24, 2016, May 15,
22   2017, and July 14, 2017 letters from MACOM to be notice by International
23   Rectifier (which is now Infineon) as required by the first sentence of Section 4.02
24   of the 2010 IP Purchase Agreement because MACOM already knew of the
25   infringement, despite International Rectifier’s or Infineon’s failure to provide
26   prompt notice as required by Section 4.02 of the 2010 IP Purchase Agreement.
27         154. MACOM also reminded Infineon and International Rectifier that, if
28   they should fail to pursue an infringement suit or to settle the claims in good faith
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 1   within three months, then Section 4.02 of the IP Purchase Agreement requires
 2   International Rectifier (which is now Infineon) to allow Nitronex (now MACOM)
 3   to file suit regardless of the field of use in which the infringement occurs and
 4   further requires International Rectifier (which is now Infineon) to take all actions
 5   requested by Nitronex to enable Nitronex to exercise its rights to pursue
 6   infringement (including assigning the patents back to Nitronex).
 7         155. The three-month time period for Infineon to either (a) pursue a claim
 8   of infringement against the third-parties identified in MACOM’s January 15, 2016,
 9   May 19, 2016, May 25, 2016, June 10, 2016, June 17, 2016, June 24, 2016, May
10   15, 2017, and July 14, 2017 letters, (b) successfully persuade the identified
11   infringers to stop infringing, or (c) to enter a settlement agreement with the
12   identified infringers has expired.
13         156. On April 15, 2016, August 23, 2016, August 26, 2016, September 12,
14   2016, September 19, 2016, September 26, 2016, September 12, 2017, and October
15   16, 2017, MACOM wrote letters to Infineon concerning Defendants’ failure to
16   satisfy any of the three conditions set forth above and demanded that Defendants
17   comply with their obligations under Section 4.02 and assign U.S. Patents
18   6,649,287, 6,617,060, 8,105,921, 8,344,417, 8,592,862, 9,064,775, 7,596,871,
19   7,071,498, 7,687,827, 8,368,117, 6,956,250, 8,937,335, 8,928,034, 8,928,035,
20   8,026,596, 9,461,119, 9,437,686, 7,135,720, 7,352,016, and 7,994,540 back to
21   MACOM. Absent that, MACOM would not have standing to bring suit against
22   infringing third parties.
23         157. Defendants have not assigned U.S. Patents 6,649,287, 6,617,060,
24   8,105,921, 8,344,417, 8,592,862, 9,064,775, 7,596,871, 7,071,498, 7,687,827,
25   8,368,117, 6,956,250, 8,937,335, 8,928,034, 8,928,035, 8,026,596, 9,461,119,
26   9,437,686, 7,135,720, 7,352,016, and 7,994,540 to MACOM.
27
28
                                          -44-
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 1         158. In November 2017, as part of interrogatory responses in this litigation,
 2   MACOM provided Infineon detailed infringement charts evidencing both Infineon
 3   Americas’ and Infineon AG’s practice of a long list of Nitronex Patents.
 4   Specifically, the identified patents were: U.S. Patent Nos. 6,611,002; 7,071,498;
 5   7,233,028; 7,247,889; 7,352,015; 7,569,871; 8,105,921; 8,344,417; 8,592,862;
 6   8,928,034; 8,937,335; 8,946,765; 9,064,775; 9,437,686; 9,437,687; and 9,461,119;
 7   and European Patent No. 1343927 B1/DE60128134. To the extent that Infineon
 8   takes the position that Infineon AG is not bound by the 2010 License and IP
 9   Agreements, these claim charts unequivocally put Infineon Americas on notice of
10   infringement of the Nitronex Patents by Infineon AG.
11         159. Given Infineon’s position in this litigation that Infineon AG is not
12   bound by the 2010 License and IP Agreement, Infineon Americas is required under
13   Section 4.02 of the IP Purchase Agreement to either enforce the Nitronex Patents
14   against Infineon AG or assign them back to MACOM for enforcement.
15         160. On March 16, 2018, MACOM wrote to Infineon to explain that more
16   than 90 days had elapsed since the claim charts evidencing Infineon AG’s
17   infringement had been served and that Infineon Americas had not enforced the
18   patents under Section 4.02 (and could not license Infineon AG’s activities in
19   MACOM’s Exclusive Field), so the relevant patents needed to be assigned back to
20   MACOM for enforcement.
21         161. In a letter dated April 11, 2018, Infineon Americas refused to do so.
22          INFINEON PURPORTS TO TERMINATE THE 2010 LICENSE
23                           AGREEMENT
           162. In response to MACOM’s original January 15, 2016 notice of
24
     infringement, Infineon again raised MACOM’s GaN-on-SiC sales, now in a formal
25
     letter to MACOM dated February 2, 2016.
26
           163. Infineon still did not identify any specific MACOM products that it
27
     alleged were infringing, any specific patents it alleged were infringed (much less
28
                                        -45-
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 1   any specific claims in those patents), leaving its allegations of infringement vague
 2   and ambiguous.
 3         164. Infineon further asserted for the first time that MACOM’s sales of
 4   GaN-on-SiC products were a material breach of the 2010 License Agreement that,
 5   if not remedied within 30 days, would allow Infineon to terminate that agreement
 6   for material breach pursuant to its Section 7.1. In other words, Infineon in this
 7   communication for the first time took the position that MACOM’s GaN-on-SiC
 8   activities not only were an alleged patent infringement, but also a breach of
 9   contract.
10         165. Prior to Infineon’s 2015 attempts to renegotiate the 2010 License
11   Agreement, neither Infineon nor International Rectifier had previously complained
12   regarding MACOM’s manufacture of limited quantities of GaN-on-SiC devices
13   during the over four years MACOM had provided them, including before
14   MACOM’s acquisition of Nitronex, as well as the entire time after Nitronex’s
15   acquisition, showing that neither Infineon nor International Rectifier considered this
16   activity as either infringing, material, or prohibited by the License Agreement.
17   Indeed, neither Infineon nor International Rectifier had ever suggested previously
18   that they intended to enforce the Nitronex Patents against any GaN-on-SiC sellers,
19   much less MACOM, which was a relatively small player in a GaN-on-SiC market
20   that was already mature and which already had multiple other competitors when
21   MACOM temporarily joined it.
22         166. MACOM responded to Infineon promptly, stating that Infineon’s
23   allegations were not specific enough to allow MACOM to respond on the merits,
24   but that, even assuming infringement for the sake of argument, practicing licensed
25   patents beyond the scope of one’s license was generally (and here) not a breach of
26   the license agreement, but instead simple patent infringement. In other words,
27   MACOM’s sales of GaN-on-SiC products could not, as a matter of law, be a breach
28   of the 2010 License Agreement, much less a material one.
                                         -46-
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 1         167. Furthermore, MACOM emphasized that its sales of GaN-on-SiC
 2   devices were de minimis, such that they could not constitute a material breach of the
 3   2010 License Agreement (even if such sales were a breach in the first place), and
 4   that the MACOM products had further been end-of-lifed (referring to the supply cut
 5   off by MACOM’s third party supplier), which cured the breach in any case.
 6         168. Rather than engaging with MACOM regarding these issues or the
 7                            that it had meanwhile executed in contravention of the 2010
 8   IP Purchase Agreement or its refusal to enforce the Nitronex Patents against
 9   infringers, Infineon instead simply purported to terminate the 2010 License
10   Agreement. Notably, in Infineon’s purported termination letter, dated March 22,
11   2016, Infineon for the first time finally identified specific patents and a single
12   MACOM GaN-on-SiC product that Infineon alleged to be infringing, a move
13   seemingly calculated to allow MACOM no time for evaluation and response before
14   Infineon’s pretextual “termination” had already been effected.
15         169. Infineon’s purported termination was without basis or cause, was done
16   in bad faith, and was pretextual. Its purpose was to attempt to wrongfully harm
17   MACOM by (i) rescinding MACOM/Nitronex’s exclusive license to GaN-on-Si RF
18   products and allowing Infineon to itself engage in GaN-on-Si RF activities
19   prohibited by the 2010 License Agreement, (ii) escaping its obligations to jointly
20   enforce the Nitronex Patents against infringers
21                , and (iii) making it easier for Infineon to sell or otherwise convey
22   rights that it was not permitted to assign for a portion of the Nitronex portfolio with
23   less encumbrance.
24         170. On information and belief, Infineon AG directed Infineon Americas to
25   terminate or controlled Infineon Americas’ termination of the 2010 License
26   Agreement.
27         171. MACOM responded to Infineon’s purported termination letter on
28   April 1, 2016, explaining that Infineon’s purported termination of the 2010 License
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 1   Agreement was without any basis and without effect. MACOM further informed
 2   Infineon that it would continue to exercise its full rights under the 2010 License
 3   Agreement.
 4         172. MACOM has been and continues to produce and offer to sell, or is on
 5   the cusp of producing and/or offering to sell, GaN-on-Si products with the
 6   following MACOM part numbers: NPT1004D, NPT25015D, NPT35015D,
 7   NPTB00050B, NPTB00025B, NPTB00025AB, NPTB00004D, NPTB00004A,
 8   NPT35050AB, NPT25100P, NPT25100B, NPT2024, NPT2022, NPT2021,
 9   NPT2020, NPT2018, NPT2010, NPT1015B, NPT1012B, NPT1010P, NPT1010B,
10   NPT1007B, NPA1008, NPA1007, NPA1006, NPA1003QA, MATR-GSHC03-
11   160150, MAGx-0011086, MAGe-102425-300, MAGX-100027-002, MAGX-
12   100027-005, MAGX-100027-010, MAGX-100027-015, MAGX-100027-050,
13   MAGX-100027-055, MAGX-100027-100, MAGX-100027-300, MAGe-102425-
14   030, MAGe-102425-050, MAGe-102425-100, MAGe-102425-200, MAGe-
15   102425-300, MAGe-102425-300G, MAGe-102425-300G0P, MAGe-100809-030,
16   MAGe-100809-500, MAGe-100809-600, MAGe-100809-1K0, MAGX-100912-
17   500, MAGX-100914-125, MAGX-100914-250, MAGX-100914-500, MAGX-
18   100914-650, MAGX-101214-1K1, MAGX-101214-500, MAMG-102933-060,
19   MAMG-102735-085, MAGX-103135-145, MAGX-103135-180, MAGX-102730-
20   400, MAGX-102731-180, MAGX-100027-010, MAMG-102733-085, MAMG-
21   102933-030, MAMG-103135-085, MAPG-10102729-400, MAGB-102527-
22   220A0P, MAGB-100025-080B0S, MAGB-100710-030S0P, MAGB-100710-
23   550S0S, MAGB-101819-750A0S, MAGB-101822-020S0P, MAGB-101822-
24   025B0P, MAGB-101822-090A0P, MAGB-101822-160A0P, MAGB-101822-
25   170B0P, MAGB-101822-220S0S, MAGB-101822-240B0P, MAGB-101822-
26   240B0S, MAGB-101822-270A0P, MAGB-101822-360A0P, MAGB-101822-
27   360S0P, MAGB-101822-380A0P, MAGB-101822-720S0S, MAGB-102122-
28   550A0S, MAGB-102324-220A0P, MAGB-102324-240B0S, MAGB-102324-
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 1   270A0P, MAGB-102324-300A0S, MAGB-102324-360A0P, MAGB-102324-
 2   750A0S, MAGB-102325-025B0P, MAGB-102327-020S0P, MAGB-102327-
 3   025B0P, MAGB-102527-025S0M, MAGB-102527-030S0P, MAGB-102527-
 4   050B0P, MAGB-102527-050B0S, MAGB-102527-050S0P, MAGB-102527-
 5   110S0S, MAGB-102527-180B0P, MAGB-102527-180B0S, MAGB-102527-
 6   270A0P, MAGB-102527-270A0S, MAGB-102527-360A0P, MAGB-102527-
 7   360A0S, MAGB-102527-450A0S, MAGB-102527-750A0S, MAGB-103436-
 8   025B0P, MAGB-103436-025S0M, MAGB-103436-030S0P, MAGB-103436-
 9   100B0S, MAGB-103436-110S0S, MAGB-103438-020B0S, MAGB-103438-
10   020S0P, MAGB-103537-100B0S, MAGB-200710-550S0S, MAGB-200910-
11   750A0S, MAGB-201822-550A0S, MAGB-202527-110S0S, MAGM-101822-
12   050A0P, MAGM-103436-040A0P, MAGM-103438-003B0P, and MAGM-103438-
13   040A0P.
14         173. MACOM’s GaN-on-Si products are discrete RF power transistors and
15   RF amplifiers that are based on GaN-on-Si HEMT technology—the very types of
16   technologies that are the subject of the foundational Nitronex Patents. When it sold
17   the Nitronex Patents to International Rectifier, Nitronex secured continuing rights
18   to use the Nitronex Patents specifically to ensure that its GaN-on-Si RF products
19   would never be the subject of infringement allegations by International Rectifier or
20   any successor to International Rectifier. The same GaN-on-Si technologies
21   developed by Nitronex continue to be used in MACOM’s products today.
22   Plaintiffs’ license was put in place specifically to cover such products and protect
23   them from patent infringement allegations (which was an obvious concern in the
24   context of the sale of a company’s entire patent portfolio), so Infineon’s termination
25   of the 2010 License Agreement necessarily puts MACOM and its current products
26   at risk of an infringement suit and puts MACOM’s customers in the apprehension
27   that they may be sued for patent infringement if they purchase and use MACOM’s
28   products. Infineon’s purported termination of the 2010 License Agreement in these
                                         -49-
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 1   circumstances constitutes an express or implied threat to MACOM that it is at risk
 2   of a patent infringement suit. MACOM’s business, including its sales of all of the
 3   GaN-on-Si products identified above, hangs under a cloud of uncertainty because of
 4   the possibility of an infringement suit by Infineon.
 5         174. MACOM and Nitronex spent millions of dollars and invested the time
 6   and attention of key employees on the development and design of GaN-on-Si
 7   products and in equipment and processes for the production of its GaN-on-Si RF
 8   products.
 9         175. MACOM considers its GaN-on-Si RF product lines to be of the
10   highest importance for its growth as a company and to open new and expand
11   existing customer relationships. It has long been MACOM’s intent to make GaN-
12   on-Si RF products, especially in the wireless communications field, one of the
13   principal focuses of its business.
14        INFINEON’S ATTEMPTS TO STEAL MARKET SHARE BY
15     MARKETING GAN-ON-SI RF PRODUCTS TO MACOM CUSTOMERS
           176. After Infineon purported to terminate the 2010 License Agreement,
16
     causing MACOM to file its Original Complaint, dated April 26, 2016, MACOM
17
     obtained confirmation that Infineon intends to enter the GaN-on-Si RF market and
18
     has been working towards that goal              or even earlier.
19
           177. As set forth above, the 2010 License Agreement prohibits Infineon
20
     from directly or indirectly marketing or selling GaN-on-Si RF products within the
21
     Exclusive Field reserved for Nitronex/MACOM, including GaN-on-Si RF products
22
     for cellular base stations.
23
           178. After MACOM filed its Original Complaint, MACOM learned from
24
     several of its base station customers, and then confirmed through discovery, that
25
     Infineon has been promoting and marketing GaN-on-Si RF products for use in
26
     cellular base station applications. These activities by Infineon are prohibited by the
27
     2010 License Agreement. Moreover, these customers have informed MACOM that
28
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 1   Infineon was, at one point, promising to provide them with samples of its GaN-on-
 2   Si RF base station products before the end of 2016, although it since appears that
 3   timeline has been delayed.
 4          179. Upon initial receipt of a customer report that Infineon was promoting
 5   GaN-on-Si RF base station products, MACOM contacted Infineon in May of 2016
 6   to ask if Infineon was “designing and/or manufacturing GaN-on-Si RF base station
 7   products, or discussing, demonstrating, sampling or otherwise communicating with
 8   customer or potential customers regarding such products.” After several letters
 9   back-and-forth, Infineon still had not provided MACOM the assurance it sought
10   that Infineon was not engaging in most of these activities.
11          180. Despite its refusal to engage in meaningful discussion with MACOM
12   on this topic, Infineon made public statements on July 14, 2016 indicating that it is
13   in the process of developing GaN-on-Si products for cellular applications (i.e., base
14   stations).
15          181. Specifically, in the context of a July 14, 2016 announcement of an
16   acquisition of a GaN-on-SiC company, Infineon released investor presentation
17   slides where it stated that “Infineon [is] the only player with the full suite of RF
18   power technologies necessary for 5G” and that it has “GaN-on-Si” RF products in
19   development for this market. Infineon further stated that, in the future, Infineon
20   will be the “Cost-performance leader in GaN RF components” and will have the
21   “Most comprehensive portfolio.” Infineon predicted that the GaN-on-Si RF cellular
22   infrastructure market (i.e., base stations) will grow to $110 million by 2020 and
23   $460 million by 2025. The slides for the July 14, 2016 presentation are currently
24   accessible at https://www.infineon.com/dgdl/2016-07-
25   14_Infineon+to+acquire+Wolfspeed_Investor+Presentation.pdf?fileId=5546d46155
26   dd90e10155e8859aae01d5.
27          182. Infineon intends to enter the GaN-on-Si RF market.
28
                                          -51-
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 1         183. Infineon has been working towards the goal of entering the GaN-on-Si
 2   RF market since before it sent the March 22, 2016 letter stating that Infineon was
 3   terminating MACOM’s license. Indeed, it turns out that
 4
 5                            , long before it acquired International Rectifier, although it
 6   appears that Infineon struggled to get its home-grown technology to work without
 7   the know-how and technology that it acquired through International Rectifier.
 8         184. Infineon has been promoting and/or marketing GaN-on-Si RF products
 9   for use in cellular base station applications since before it sent the March 22, 2016
10   letter stating that Infineon was terminating MACOM’s license.
11         185. Based on the above-described customer reports, as confirmed by
12   Infineon’s public statements and discovery, it is clear that Infineon has engaged and
13   is engaging in activities within MACOM’s Exclusive Field that are expressly
14   prohibited by the 2010 License Agreement, that Infineon began those activities well
15   before it purported to terminate the 2010 License Agreement, and that Infineon’s
16   termination of the 2010 License Agreement was a pretext that it hoped would allow
17   to continue with unauthorized activities in violation of its obligations to Plaintiffs.
18         186. To the extent that Infineon Americas itself has not performed any of
19   the activities described in Paragraphs 158 to 167 above, it has expressly or
20   impliedly authorized its affiliates to do so, in breach of the License Agreement
21   provisions that give MACOM the sole right to sublicense the Nitronex Patents in
22   the Field of Use.
23    INFINEON’S ATTEMPTS TO ESCAPE ALLEGATIONS OF BREACH BY
24        CLAIMING THAT THE NITRONEX PATENTS ARE INVALID
           187. Since the filing of this litigation, Infineon Americas has filed
25
     counterclaims of patent infringement against MACOM that are premised on
26
     Infineon’s theory that the License Agreement is terminated.
27
28
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 1         188. But Infineon Americas has also simultaneously defended against
 2   MACOM’s claims that it has breached its promises of exclusivity (i.e., the claims
 3   that Infineon has practiced the Nitronex Patents in MACOM’s Exclusive Field) by
 4   taking the position that one or more of the Nitronex Patents are invalid and so
 5   cannot be subject to promises of exclusivity. Infineon AG has likewise taken the
 6   position that the supposed invalidity of the Nitronex Patents is a full defense to the
 7   claim that it intentionally interfered with Infineon Americas’ performance under the
 8   2010 License and IP Purchase Agreements.
 9         189. When Nitronex and International Rectifier entered into the License
10   Agreement and IP Purchase Agreement in 2010, it was with the understanding that
11   that the parties would collaborate on enforcement of the Nitronex Patents, as
12   evidenced by
13
14         190. Prior to this litigation, neither International Rectifier nor Infineon ever
15   took the position that the Nitronex Patents are invalid. To the contrary, the premise
16   of the 2010 agreements was that International Rectifier wanted to obtain the
17   foundational Nitronex Patents—and paid                         to do so, even though
18   they were to be subject to an exclusive license to MACOM in some fields of use—
19   because of their value.
20         191. Nitronex would not have agreed to transfer the Nitronex Patents to
21   International Rectifier but for the promises of exclusivity provided to Nitronex in
22   its Exclusive Field.
23         192. Further, Infineon paid billions of dollars to acquire International
24   Rectifier, at least in part to obtain access to Nitronex technology and patents and as
25   part of its plan to launch GaN-on-Si RF power products for base stations.
26         193. Moreover, as described above, International Rectifier and Infineon
27   both continued to prosecute applications in the Nitronex Patent families after the
28   2010 transfer of those applications by Nitronex.
                                         -53-
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 1         194. But now it has become strategically inconvenient for Infineon to
 2   consistently acknowledge the validity of the foundational Nitronex Patents,
 3   including even the validity of patents that it has itself prosecuted. Infineon
 4   therefore undercuts the value of the promises and licenses that International
 5   Rectifier gave to Nitronex by claiming that one or more Nitronex Patents are
 6   invalid. This is not consistent with the promise of exclusivity to Nitronex (now
 7   MACOM) for these patents.
 8         195. Infineon’s attempts to invalidate the Nitronex Patents (including
 9   patents that International Rectifier and/or Infineon itself prosecuted) so as to avoid
10   allegations of breach are also inconsistent with its obligations of fair dealing under
11   California law and represent an attempt by Infineon to avoid its obligations under
12   its agreements with MACOM. Those attempts devalue the patents, which cannot
13   be reconciled with Infineon’s implied promise to perform on the express
14                                                     promises in the 2010 agreements in
15   good faith.
16    INFINEON ANNOUNCES THE SALE OF PORTIONS OF INFINEON’S RF
17                   POWER BUSINESS TO CREE
           196. On March 6, 2018, Cree and Infineon AG announced that Cree was
18
     acquiring Infineon AG’s RF Power business.
19
           197. The sale encompassed Infineon’s LDMOS and GaN-on-SiC
20
     technologies and businesses. The sale also included the main Infineon RF Power
21
     facility in Morgan Hill, CA, and Cree became the employer of employees at
22
     Americas’ United States locations in Morgan Hill and Chandler, Arizona.
23
           198. On information and belief,
24
25
           199. On information and belief, Infineon AG has directed or collaborated
26
     with Infineon Americas to transfer Infineon’s GaN-on-Si RF Power business to
27
     Infineon AG and/or other Infineon entities other than Infineon Americas to avoid
28
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 1   Infineon Americas’ contractual promises that it would not practice the Nitronex
 2   Patents in MACOM’s Exclusive Field.
 3            FIRST CLAIM FOR RELIEF – Against Infineon Americas
 4      (Breach of Contract – Wrongful Termination of 2010 License Agreement)
           200. The allegations contained in the preceding Paragraphs are incorporated
 5
     by reference herein.
 6
           201. Nitronex Corporation and International Rectifier Corporation entered
 7
     into the 2010 License Agreement.
 8
           202. The 2010 License Agreement is a valid contract, supported by
 9
     consideration under California Civil Code Sections 1550, et seq.
10
           203. Nitronex Corporation and its successors-in-interest Nitronex, LLC and
11
     MACOM have fully and/or substantially performed their duties under the 2010
12
     License Agreement.
13
           204. MACOM has not breached the 2010 License Agreement by selling
14
     GaN-on-SiC devices.
15
           205. In the alternative, MACOM has not materially breached 2010 License
16
     Agreement by selling GaN-on-SiC devices.
17
           206. Further in the alternative, MACOM cured any alleged breach.
18
           207. Infineon Americas has breached the 2010 License Agreement by
19
     purporting to terminate it.
20
           208. Infineon Americas’ purported termination of the 2010 License
21
     Agreement was wrongful, pretextual, and made in bad faith.
22
           209. As a direct and proximate result of Infineon Americas’ breach of the
23
     contract, Plaintiffs have suffered and will continue to suffer irreparable harm, as
24
     well as damages, including in the form of diminished value and lost profits from
25
     potential sublicensees and/or customers, uncertainty regarding MACOM’s strategic
26
     business activities, and increased legal and other fees.
27
28
                                         -55-
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 1         210. Additionally, MACOM’s damages for unwarranted loss of its
 2   exclusive rights to the burgeoning GaN-on-Si RF devices market, which industry
 3   analysts and even Defendants themselves estimate will grow to hundreds of
 4   millions of dollars per year by the expiration of the Nitronex Patents, would be
 5   substantial. MACOM would suffer significant lost revenues if Infineon is allowed
 6   to enter this market segment as a competitor to MACOM.
 7         211. Plaintiffs are entitled to relief, including damages, specific
 8   performance and preliminary and permanent injunctive relief, as set forth below.,
 9   or, in the alternative, rescission of the 2010 License Agreement and 2010 IP
10   Purchase Agreement and Nitronex Patent assignments, such that Plaintiffs retain
11   title to the Nitronex Patents and Infineon has no rights to or under them.
12           SECOND CLAIM FOR RELIEF – Against Infineon Americas
13      (Breach of Contract – Marketing and Preparations for Sale of GaN-on-Si
       Products within MACOM’s Exclusive Field of the 2010 License Agreement;
14                   Transfer of GaN-on-Si Activities to Affiliates)
15        212.    The allegations contained in the preceding Paragraphs are incorporated

16   by reference herein.

17        213.    Nitronex Corporation and International Rectifier Corporation entered

18   into the 2010 License Agreement.

19        214.    The 2010 License Agreement is valid contract, supported by

20   consideration under California Civil Code Sections 1550, et seq.

21        215.    Nitronex Corporation and its successors-in-interest Nitronex, LLC and

22   MACOM have fully and/or substantially performed their duties under the 2010

23   License Agreement.

24        216.    MACOM has not breached the 2010 License Agreement by selling

25   GaN-on-SiC devices.

26        217.    In the alternative, MACOM has not materially breached 2010 License

27   Agreement by selling GaN-on-SiC devices.

28        218.    Further in the alternative, MACOM cured any alleged breach.

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 1         219.   Infineon Americas, directly or indirectly, has breached the 2010
 2   License Agreement by wrongfully engaging in activities to market and sell (or at
 3   least prepare to sell) GaN-on-Si RF devices within MACOM’s Exclusive Field.
 4         220.   Infineon Americas has breached the 2010 License Agreement by
 5   inducing and/or authorizing, expressly or impliedly, its affiliates to engage in
 6   activities in the Field of Use in breach of the License Agreement provisions that
 7   give MACOM the sole right to sublicense the Nitronex Patents in the Field of Use.
 8   Further, Infineon Americas has breached the 2010 License Agreement by
 9   transferring its GaN-on-Si RF business activities for base station products to its
10   affiliates to avoid its promises and obligations under that agreement.
11         221.   As the direct and proximate result of Infineon Americas’ breach of the
12   contract, Plaintiffs have suffered and will continue to suffer irreparable harm, as
13   well as damages, including in the form of diminished value and lost profits from
14   potential sublicensees and/or customers, uncertainty regarding MACOM’s strategic
15   business activities, and increased legal and other fees. If Infineon Americas or its
16   affiliates are allowed to directly or indirectly continue their activities and to enter
17   the GaN-on-Si RF market in MACOM/Nitronex’s Exclusive Field (including
18   producing and selling GaN-on-Si cellular base station products), this harm and
19   damage will become more severe.
20         222.   Additionally, MACOM’s damages for unwarranted loss of its
21   exclusive rights to the burgeoning GaN-on-Si RF devices market, which industry
22   analysts and even Defendants themselves estimate will grow to hundreds of
23   millions of dollars per year by the expiration of the Nitronex Patents, would be
24   substantial. MACOM would suffer significant lost revenues and irreparable harm if
25   Infineon is allowed to enter this market segment as a competitor to MACOM.
26         223.   Plaintiffs are entitled to relief, including damages, specific
27   performance, and preliminary and permanent injunctive relief, as set forth below,
28   or, in the alternative, rescission of the 2010 License Agreement and 2010 IP
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 1   Purchase Agreement and Nitronex Patent assignments, such that Plaintiffs retain
 2   title to the Nitronex Patents and Infineon has no rights to or under them.
 3            THIRD CLAIM FOR RELIEF – Against Infineon Americas
 4         (Declaratory Judgment – 2010 License Agreement Not Terminated)
           224. The allegations contained in the preceding Paragraphs are incorporated
 5
     by reference herein.
 6
           225. An actual and justiciable case or controversy exists between Plaintiffs
 7
     and Infineon Americas regarding the 2010 License Agreement and its purported
 8
     termination by Infineon Americas.
 9
           226. Infineon Americas has purported to terminate the 2010 License
10
     Agreement.
11
           227. Plaintiffs have not breached the 2010 License Agreement, much less
12
     materially breached it. And, in any event, any breach has been cured. Thus,
13
     Infineon Americas had no right to terminate the 2010 License Agreement.
14
           228. Plaintiffs are entitled to a judgment declaring that Infineon Americas
15
     (a) was not entitled to terminate the 2010 License Agreement, (b) the purported
16
     termination of the 2010 License Agreement is null and void, and (c) that the 2010
17
     License Agreement is still valid and binding as to Plaintiffs and Infineon Americas,
18
     as set forth below, including to the extent that it limits Defendants’ rights to
19
     practice in fields that are exclusive to Nitronex and MACOM.
20
           229. As a direct and proximate result of Infineon Americas’ wrongful
21
     termination of the 2010 License Agreement, Plaintiffs have suffered and will
22
     continue to suffer irreparable harm, including in the form of diminished value and
23
     lost profits from potential sublicenses and/or customers, uncertainty regarding
24
     MACOM’s strategic business activities, and increased legal and other fees.
25
           230. Additionally, MACOM’s damages for unwarranted loss of its
26
     exclusive rights to the burgeoning GaN-on-Si RF devices market, which industry
27
     analysts and even Defendants themselves estimate will grow to hundreds of
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 1   millions of dollars per year by the expiration of the Nitronex Patents, would be
 2   substantial. MACOM would suffer significant lost revenues if Infineon is allowed
 3   to enter this market segment as a competitor to MACOM.
 4         231. Plaintiffs are entitled to preliminary and permanent injunctive relief, as
 5   set forth below, including a preliminary and permanent injunction ordering Infineon
 6   Americas, its officers, agents, servants, employees, attorneys, and any other person
 7   or entity in active concert or participation with Infineon Americas to cease all
 8   development, marketing, and sales activities for GaN-on-Si products in MACOM’s
 9   Exclusive Field.
10           FOURTH CLAIM FOR RELIEF – Against Infineon Americas
11     (Breach of Covenant of Good Faith and Fair Dealing – 2010 License and IP
                                Purchase Agreements)
12         232. The allegations contained in the preceding Paragraphs are incorporated
13   by reference herein.
14         233. Nitronex Corporation and International Rectifier Corporation entered
15   into the 2010 License Agreement.
16         234. The 2010 License Agreement is a valid contract, supported by
17   consideration under California Civil Code Sections 1550, et seq.
18         235. Nitronex Corporation and International Rectifier Corporation entered
19   into the 2010 IP Purchase Agreement.
20         236. The 2010 IP Purchase Agreement is a valid contract, supported by
21   consideration under California Civil Code Sections 1550, et seq.
22         237. Nitronex Corporation and its successors-in-interest Nitronex, LLC and
23   MACOM have fully and/or substantially performed their duties under the 2010 IP
24   Purchase and License Agreements.
25         238. Infineon Americas has breached the implied covenant of good faith
26   and fair dealing governing the 2010 License Agreement by wrongfully,
27   pretextually, and in bad faith attempting to terminate the 2010 License Agreement,
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 1   thus unfairly and prejudicially interfering with Plaintiffs’ rights under the 2010
 2   License Agreement.
 3         239. Infineon Americas has also breached the implied covenant of good
 4   faith and fair dealing governing the 2010 License Agreement by wrongfully and in
 5   bad faith designing, developing, marketing, and preparing to sell GaN-on-Si RF
 6   products within MACOM’s Exclusive Field, thus unfairly and prejudicially
 7   interfering with Plaintiffs’ exclusive rights under the 2010 License Agreement.
 8         240. Infineon Americas has breached the implied covenant of good faith
 9   and fair dealing governing the 2010 IP Purchase Agreement by wrongfully refusing
10   to cooperate with MACOM in connection with patent enforcement matters,
11   including against Infineon AG, and by refusing to assign Nitronex Patents back to
12   Plaintiffs so that Plaintiffs can enforce those patents themselves.
13         241. Infineon Americas has breached the implied covenant of good faith
14   and fair dealing by taking the position that one or more of the Nitronex Patents are
15   invalid.
16         242. Infineon Americas has breached the implied covenant of good faith
17   and fair dealing governing the 2010 IP Purchase Agreement by, at the direction and
18   under the control of Infineon AG,
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20
21
22                                                                  .
23         243. Infineon Americas has breached the implied covenant of good faith
24   and fair dealing by transferring GaN-on-Si RF power technology and operations to
25   Infineon AG or its entities outside the United States and failing to enforce the
26   Nitronex Patents against Infineon AG or other Infineon entities.
27         244. As a direct and proximate result of Infineon Americas’ breach of these
28   contracts, Plaintiffs have suffered and will continue to suffer irreparable harm, as
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 1   well as damages, including in the form of diminished value and lost profits from
 2   potential sublicenses and/or customers, uncertainty regarding MACOM’s critical
 3   and strategic business activities, and increased legal and other fees.
 4         245. Additionally, MACOM’s damages for unwarranted loss of its
 5   exclusive rights to the burgeoning GaN-on-Si RF devices market, which industry
 6   analysts and even Defendants themselves estimate will grow to hundreds of
 7   millions of dollars per year by the expiration of the Nitronex Patents, would be
 8   substantial. MACOM would suffer significant lost revenues if Infineon is allowed
 9   to enter this market segment as a competitor to MACOM.
10         246. Plaintiffs are entitled to relief, including damages, specific
11   performance and preliminary and permanent injunctive relief, as set forth below.
12            FIFTH CLAIM FOR RELIEF – Against Infineon Americas
13       (Declaratory Judgment – Non-Infringement of the Nitronex Patents by
                         MACOM’s GaN-on-Si RF Products)
14          247. The allegations contained in the preceding Paragraphs are incorporated
15   by reference herein.
16          248. When Nitronex agreed to sell the foundational Nitronex Patents to
17   International Rectifier in 2010, it negotiated for and obtained rights to continue to
18   use the Nitronex Patents to develop, manufacture, and sell GaN-on-Si RF products,
19   including the exclusive right to develop, manufacture, and sell GaN-on-Si RF
20   products for certain applications, including cellular base stations, and to ensure that
21   its GaN-on-Si RF products would never be the subject of infringement allegations
22   by International Rectifier or any successor to International Rectifier.
23          249. MACOM acquired Nitronex in 2014 to: provide MACOM with access
24   to Nitronex’s fundamental and innovative GaN-on-Si technologies for use in RF
25   applications; enhance MACOM’s development of GaN-on-Si RF products and
26   process technology; obtain rights to use (and for certain applications, exclusively
27   use) the foundational Nitronex Patents in its GaN-on-Si RF products and
28
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 1   manufacturing processes; and ensure that its GaN-on-Si RF products would never
 2   be the subject of infringement allegations under the Nitronex Patents.
 3          250. Since its acquisition of Nitronex, MACOM has continued to use the
 4   foundational Nitronex GaN-on-Si technology and to invest in the development of
 5   GaN-on-Si RF products, particularly for cellular base stations within its Exclusive
 6   Field. MACOM has been actively marketing, offering for sale, and selling GaN-
 7   on-Si RF products and plans to continue to do so.
 8          251. After Infineon AG acquired International Rectifier, Infineon almost
 9   immediately began to demand that MACOM relinquish its exclusive rights to use
10   the Nitronex Patents to develop and sell GaN-on-Si products for certain
11   applications, including the cellular base station market that MACOM is targeting.
12   When MACOM refused to relinquish those rights, Defendants purported to
13   terminate the 2010 License Agreement based on a pretextual claim that other
14   MACOM products infringed the Nitronex Patents.
15          252. According to Infineon, Infineon’s purported termination of MACOM’s
16   rights to use Nitronex Patents leaves MACOM’s GaN-on-Si RF products
17   unlicensed. This has put MACOM in a position where it must either: abandon its
18   GaN-on-Si RF business, which it cannot do in view of the investment it has made in
19   GaN-on-Si and the importance of GaN-on-Si products to the company’s future; or
20   pursue arguably infringing behavior, which puts MACOM at risk of an
21   infringement suit and puts MACOM’s customers in the apprehension that they may
22   be sued for patent infringement if they purchase and use MACOM’s products.
23          253. Infineon’s purported termination of the 2010 License Agreement in
24   these circumstances constitutes an express or implied threat to MACOM that it is at
25   risk of a patent infringement suit. This threat is made worse by the fact that
26   Infineon is actively developing and marketing GaN-on-Si RF products to
27   MACOM’s base station customers.
28
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 1          254. As a result, there is an actual, justiciable, substantial, and immediate
 2   controversy between Plaintiffs and Infineon Americas regarding whether
 3   MACOM’s GaN-on-Si RF products infringe the Nitronex Patents.
 4          255. MACOM is entitled to a judgment declaring that its activities in
 5   designing, testing, use, manufacture, having manufactured, offering for sale, selling
 6   and/or importing MACOM’s GaN-on-Si RF products, including those identified
 7   above, do not infringe the Nitronex Patents.
 8          256. Plaintiffs are also entitled to preliminary and permanent injunctive
 9   relief barring Infineon Americas from taking any action or making any statement
10   that asserts that the 2010 License Agreement has been terminated or that
11   MACOM’s GaN-on-Si products are not licensed under the 2010 License
12   Agreement.
13                SIXTH CLAIM FOR RELIEF – Against Infineon Americas
14               (Breach of Contract – Breach of 2010 IP Purchase Agreement)
           257. The allegations contained in the preceding Paragraphs are incorporated
15
     by reference herein.
16
           258. Nitronex Corporation and International Rectifier Corporation entered
17
     into the 2010 IP Purchase Agreement.
18
           259. The 2010 IP Purchase Agreement is a valid contract, supported by
19
     consideration under California Civil Code Sections 1550, et seq.
20
           260. Nitronex Corporation and its successors-in-interest Nitronex, LLC and
21
     MACOM have fully and/or substantially performed their duties under the 2010 IP
22
     Purchase Agreement, including by transferring the Nitronex Patents to International
23
     Rectifier                                          . Neither Infineon nor
24
     International Rectifier has claimed that MACOM or Nitronex have breached the
25
     2010 IP Purchase Agreement in any way.
26
           261. Infineon Americas has breached the 2010 IP Purchase Agreement by
27
     failing to assign U.S. Patent Nos. 6,611,002; 6,617,060; 6,649,287; 6,956,250;
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                                         -63-
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 1   7,071,498; 7,135,720; 7,233,028; 7,247,889; 7,352,015; 7,352,016; 7,569,871;
 2   7,687,827; 7,994,540; 8,026,596; 8,105,921; 8,344,417; 8,368,117; 8,592,862;
 3   8,928,034; 8,928,035; 8,937,335; 8,946,765; 9,064,775; 9,437,686; 9,437,687; and
 4   9,461,119; and European Patent No. 1343927 B1/DE60128134 to Plaintiffs
 5   pursuant to its obligations under Section 4.02 of the 2010 IP Purchase Agreement,
 6   when, at least three months after MACOM provided a detailed notice showing a
 7   reasonable basis for the allegation of infringement of U.S. Patent Nos. 6,611,002;
 8   6,617,060; 6,649,287; 6,956,250; 7,071,498; 7,135,720; 7,233,028; 7,247,889;
 9   7,352,015; 7,352,016; 7,569,871; 7,687,827; 7,994,540; 8,026,596; 8,105,921;
10   8,344,417; 8,368,117; 8,592,862; 8,928,034; 8,928,035; 8,937,335; 8,946,765;
11   9,064,775; 9,437,686; 9,437,687; and 9,461,119; and European Patent No. 1343927
12   B1/DE60128134, MACOM demanded that Infineon Americas assign U.S. Patent
13   Nos. 6,611,002; 6,617,060; 6,649,287; 6,956,250; 7,071,498; 7,135,720; 7,233,028;
14   7,247,889; 7,352,015; 7,352,016; 7,569,871; 7,687,827; 7,994,540; 8,026,596;
15   8,105,921; 8,344,417; 8,368,117; 8,592,862; 8,928,034; 8,928,035; 8,937,335;
16   8,946,765; 9,064,775; 9,437,686; 9,437,687; and 9,461,119; and European Patent
17   No. 1343927 B1/DE60128134 back to MACOM, and Infineon did not do so.
18         262. Infineon has breached the 2010 IP Purchase Agreement by
19
20                                                                in violation of Section
21   4.02 of the 2010 IP Purchase Agreement.
22         263. As a direct and proximate result of Infineon Americas’ breaches of the
23   contract, Plaintiffs have suffered irreparable harm and damages in the form of
24   diminished value and lost profits from potential sublicenses and/or customers,
25   uncertainty regarding MACOM’s critical and strategic business activities, and
26   increased legal and other fees.
27         264. Plaintiffs are entitled to relief, including damages, specific
28   performance, and preliminary and permanent injunctive relief, as set forth below,
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 1   or, in the alternative, rescission of the 2010 License Agreement and 2010 IP
 2   Purchase Agreement and Nitronex Patent assignments, such that Plaintiffs retain
 3   title to the Nitronex Patents and Infineon has no rights to or under them.
 4          SEVENTH CLAIM FOR RELIEF – Against Infineon Americas
 5    (Declaratory Judgment – No Sale of Nitronex Patents By Infineon Americas)
           265. The allegations contained in the preceding Paragraphs are incorporated
 6
     by reference herein.
 7
           266. An actual and justiciable case or controversy exists between Plaintiffs
 8
     and Infineon Americas regarding the 2010 IP Purchase Agreement and its
 9
     requirements regarding assignment of the Nitronex Patents.
10
           267. Infineon Americas has attempted to, without Plaintiffs’ consent, enter
11
     into a transaction whereby Infineon Americas would transfer some of the Nitronex
12
     Patents to a third party. It has additionally taken the position that it can proceed
13
     with a transfer at any time that it wishes, without MACOM’s consent, under the
14
     terms of the 2010 IP Purchase and License Agreements. It has additionally
15
16
                                   .
17
           268. An assignment of the Nitronex Patents, or a transfer of rights of similar
18
     effect under a different name, without Plaintiffs’ consent would violate Section
19
     12.12 of the 2010 IP Purchase Agreement and would be inconsistent with the
20
     obligations owed by Infineon Americas to MACOM,
21
22
23
                .
24
           269. Such a transfer would also subject Plaintiffs to a cloud of uncertainty
25
     as to their rights with respect to the Nitronex Patents, impair the value of those
26
     rights, and impose unnecessary legal expense on Plaintiffs.
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                                          -65-
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 1         270. MACOM has advised Infineon Americas of its position that Infineon
 2   cannot assign any of the Nitronex Patents without MACOM’s consent and
 3   requested assurances from Infineon that it would not assign any Nitronex Patents
 4   without that consent. Infineon has stated that it does not believe that MACOM’s
 5   consent is necessary and declined to agree to seek such consent from MACOM.
 6         271. MACOM is entitled to a judgment declaring that Infineon Americas
 7   cannot transfer any of the Nitronex Patents, or transfer rights amounting to an
 8   assignment, to a third party without Plaintiffs’ consent. In the alternative, if
 9   Infineon Americas is entitled to transfer the Nitronex Patents without MACOM’s
10   consent, MACOM is entitled to a declaration as to the effect that such a transfer has
11   on the obligations owed by Infineon Americas and any purchaser of the Nitronex
12   Patents to MACOM under the 2010 IP Purchase and License Agreements, the
13   rights of any third-party purchaser under those agreements, and the effect of such a
14   transfer on the field of use restrictions of the 2010 License Agreement. This
15   includes a declaration that Infineon’s purported
16
17                             is null, void, invalid, and of no force or effect.
18         272. If Infineon Americas transfers any of the Nitronex Patents without
19   MACOM’s consent, the value of MACOM’s rights under the 2010 IP Purchase
20   Agreement may be irreparably diminished and harmed. Plaintiffs are therefore also
21   entitled to preliminary and permanent injunctive relief barring Infineon Americas
22   from transferring any of the Nitronex Patents without MACOM’s consent.
23               EIGHTH CLAIM FOR RELIEF – Against Infineon AG
24                (Intentional Interference With Contractual Relations)
           273. The allegations contained in the preceding Paragraphs are incorporated
25
      by reference herein.
26
           274. Plaintiffs had valid contracts with International Rectifier, including the
27
      2010 IP Purchase Agreement and 2010 License Agreement.
28
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 1            275. Infineon AG has either succeeded to those contracts or, alternatively,
 2    is the parent corporation to Infineon Americas, and therefore had the ability to
 3    control and direct Infineon Americas’ performance or non-performance under
 4    those Agreements. 5
 5            276. Infineon AG was and is fully aware of the 2010 IP Purchase and
 6       License Agreements and their terms. Indeed, Infineon AG representatives
 7       participated in numerous phone conferences with MACOM in which they
 8       discussed in detail the provisions of the 2010 IP Purchase and License Agreements.
 9            277. On information and belief, Infineon AG embarked on an intentional
10    and wrongful course of conduct to interfere with and disrupt Infineon Americas’
11    performance of the 2010 IP Purchase and License Agreements through its
12    instructions to Infineon Americas to, among other things: try to force MACOM to
13    give up its exclusive rights under the 2010 License Agreement; when MACOM
14    refused to give up its rights, make baseless and pretextual claims that MACOM
15    had breached the Agreements; send MACOM a “notice of termination” of the
16    2010 License Agreement, when, in fact, there was no basis to terminate the 2010
17    License Agreement; and refuse to take action with respect to infringers of the
18    Nitronex Patents.
19            278. Infineon AG’s actions and instructions to Infineon Americas
20    wrongfully induced Infineon Americas to claim that MACOM had breached the
21    2010 License Agreement and to purport to terminate it. Infineon Technologies
22
23
     5
24         To the extent that Infineon Americas is an agent or alter ego of Infineon AG
           and/or Infineon AG ratified the Nitronex-International Rectifier agreements,
25         including the 2010 License Agreement and the 2010 IP Purchase Agreement,
26         Infineon AG succeeded to International Rectifier’s contracts and is subject to
           MACOM’s claims of breach of contract. To the extent that Infineon AG did not
27         succeed to those contracts, it has intentionally interfered with them and is
28         subject to this alternative eighth claim for relief.
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 1    AG’s actions were improper, without justification, and taken in bad faith and via
 2    improper means.
 3         279. Furthermore, Infineon AG caused itself and one or more of its
 4    subsidiaries to interfere with MACOM’s exclusive rights under the 2010 License
 5    Agreement to design, develop, and/or market and to make preparations to sell
 6    products within the Exclusive Field reserved to MACOM/Nitronex alone, by
 7    causing itself and one or more of its subsidiaries to design, develop, and/or market
 8    and to make preparations to sell GaN-on-Si RF products for cellular base station
 9    products within MACOM’s Exclusive Field.
10         280. Additionally, Infineon AG’s actions and instructions to Infineon
11    Americas wrongfully induced it to enter into contractual arrangements inconsistent
12    with the requirements of the 2010 IP Purchase Agreement and to take the position
13    that one or more of the Nitronex Patents are invalid.
14         281. Infineon AG has also
15
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17
18
19   interfering with MACOM’s rights in the Exclusive Field under the 2010 License
20   Agreement and rights under the 2010 IP Purchase Agreement.
21         282. On information and belief, Infineon AG’s actions were taken with the
22    predominant intent to harm Plaintiff’s contractual rights and benefit Infineon AG.
23         283. Infineon AG’s intentional interference with the 2010 License
24    Agreement and 2010 IP Purchase Agreement has damaged Plaintiffs.
25         284. Plaintiffs have suffered and will continue to suffer irreparable harm, as
26    well as damages, including in the form of diminished value and lost profits from
27    potential sublicenses and/or customers, uncertainty regarding MACOM’s critical
28    and strategic business activities, and increased legal and other fees.
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 1         285. Additionally, MACOM’s damages for unwarranted loss of its
 2    exclusive rights to the burgeoning GaN-on-Si RF devices market, which industry
 3    analysts and even Defendants themselves estimate will grow to hundreds of
 4    millions of dollars per year by the expiration of the Nitronex Patents, would be
 5    substantial. MACOM would suffer significant lost revenues if Infineon is allowed
 6    to enter this market segment as a competitor to MACOM.
 7         286. Plaintiffs are entitled to relief, including damages, specific
 8    performance, and preliminary and permanent injunctive relief, as set forth below.
 9              NINTH CLAIM FOR RELIEF – Against Infineon AG
10    (Unfair Competition in violation of California Business and Professions Code
                                     §17200 et seq.)
11         287. The allegations contained in the preceding Paragraphs are incorporated
12   by reference herein.
13         288. Infineon AG has engaged in unlawful, unfair, and/or fraudulent
14   business practices or acts in violation of California Business and Professions Code
15   §17200 et seq (“the UCL”).
16         289. For instance, Infineon AG’s conduct is unlawful, in violation of the
17   UCL, because it contravenes the legislatively declared policy against unfair
18   methods of business competition. Additionally, Infineon AG’s conduct is unlawful
19   because, as alleged herein, it constitutes tortious interference with contractual
20   relations.
21         290. Infineon AG engaged in unfair methods of competition in violation of
22   the UCL in at least the following respects:
23                a. Wrongfully interfering with and disrupting Infineon Americas’
24                   performance of the 2010 License Agreement and 2010 Purchase
25                   Agreement;
26                b. Wrongfully inducing Infineon Americas to claim that MACOM had
27                   breached the 2010 License Agreement and to purport to terminate it;
28
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 1             c. Causing itself and one or more of its subsidiaries to interfere with
 2                  MACOM’s exclusive rights under the 2010 License Agreement to
 3                  design, develop, and/or market and to make preparations to sell
 4                  products within the Exclusive Field reserved to MACOM/Nitronex
 5                  alone, by causing itself and one or more of its subsidiaries to design,
 6                  develop, and/or market and to make preparations to sell Gan-on-Si RF
 7                  products for cellular base station products within MACOM’s
 8                  Exclusive Field;
 9             d. Wrongfully inducing Infineon Americas to fail to pursue infringers of
10                  the Nitronex Patents, to enter into contractual arrangements
11                  inconsistent with the requirements of the 2010 IP Purchase Agreement,
12                  and to take the position that one or more of the Nitronex Patents are
13                  invalid;
14             e.
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22         291. As a result of Infineon AG’s violations of the UCL, Infineon AG has
23   reaped unfair benefits at the expense of MACOM and retained property rights that
24   should be restored to MACOM.
25         292. Infineon AG’s unlawful business practices or acts have injured and
26   will continue to injure Plaintiffs.
27         293. Infineon AG has reaped the benefit of and wrongfully retained rights
28   to practice the Nitronex Patents, including in MACOM’s Exclusive Field.
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 1         294. In doing so, Infineon AG has caused MACOM to suffer irreparable
 2   harm. MACOM has experienced injury due to the unwarranted loss of its exclusive
 3   rights to the burgeoning GaN-on-Si RF devices market.
 4         295. Plaintiffs are entitled to relief, including preliminary and permanent
 5   injunctive relief and restitution, as set forth below.
 6                                  PRAYER FOR RELIEF
 7         Wherefore, Plaintiffs MACOM Technology Solutions Holdings, Inc. and
 8   Nitronex, LLC respectfully request that this Court enter judgment against
 9   Defendants Infineon Technologies AG and Infineon Technologies Americas Corp.
10   as follows:
11         A.      A declaration that (a) Infineon Americas was not entitled to terminate
12                 the 2010 License Agreement, (b) the purported termination of the 2010
13                 License Agreement is null and void, and (c) the 2010 License
14                 Agreement is still valid and binding as to Plaintiffs and Defendants;
15         B.      A declaration that MACOM’s GaN-on-Si RF products and activities
16                 do not infringe the Nitronex Patents because all of those activities are
17                 licensed under the 2010 License Agreement;
18         C.      An order requiring Infineon Americas to specifically perform their
19                 obligations pursuant to the 2010 License Agreement;
20         D.      A preliminary and permanent injunction preventing Infineon
21                 Americas, its officers, agents, servants, employees, attorneys, and any
22                 other person or entity in active concert or participation with Infineon
23                 Americas from terminating the 2010 License Agreement for actions
24                 that do not constitute material breaches, including MACOM’s sales of
25                 GaN-on-SiC devices;
26         E.      A preliminary and permanent injunction preventing Infineon
27                 Americas, its officers, agents, servants, employees, attorneys, and any
28                 other person or entity in active concert or participation with Infineon
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 1               Americas from taking any action or making any statement that asserts
 2               that the 2010 License Agreement has been terminated or that
 3               MACOM’s GaN-on-Si products are not licensed under the 2010
 4               License Agreement;
 5         F.    A preliminary and permanent injunction preventing Infineon
 6               Americas, its officers, agents, servants, employees, attorneys, and any
 7               other person or entity in active concert or participation with Infineon
 8               Americas from, directly or indirectly, developing, marketing, or selling
 9               GaN-on-Si products in MACOM’s Exclusive Field;
10         G.    A preliminary and permanent injunction preventing Infineon AG, its
11               officers, agents, servants, employees, attorneys, and any person or
12               entity in active concert or participation with Infineon AG from directly
13               or indirectly, developing, making, marketing, or selling GaN-on-Si
14               products in MACOM’s Exclusive Field or otherwise practicing the
15               Nitronex Patents;
16         H.    Damages to compensate the losses suffered by Plaintiffs due to
17               Infineon Americas’ breaches of contract and breach of the covenant of
18               good faith and fair dealing and Infineon’s AG’s intentional
19               interference with the 2010 License Agreement and 2010 IP Purchase
20               Agreement;
21         I.    In the alternative to damages to compensate the losses suffered by
22               MACOM due to Infineon Americas’ breaches of contract, rescission of
23               the 2010 License Agreement and 2010 IP Purchase Agreement and
24               Nitronex Patent assignments, such that Plaintiffs retain title to the
25               Nitronex Patents and Infineon has no rights to or under them;
26         J.    An order requiring Infineon Americas to specifically perform its
27               obligations pursuant to the 2010 IP Purchase Agreement;
28         K.    An order requiring Infineon Americas to assign U.S. Patents
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 1               6,649,287, 6,617,060, 8,105,921, 8,344,417, 8,592,862, 9,064,775,
 2               7,596,871, 7,071,498, 7,687,827, 8,368,117, 6,956,250, 8,937,335,
 3               8,928,034, 8,928,035, 8,026,596, 9,461,119, 9,437,686, 7,135,720,
 4               7,352,016, and 7,994,540 to Plaintiffs;
 5         L.    A declaration that Infineon Americas cannot transfer any Nitronex
 6               Patent without MACOM’s consent;
 7         M.    A declaration that any purported conveyance of any rights from
 8               Infineon              is void, invalid, and of no force or effect;
 9         N.    A preliminary and permanent injunction preventing Infineon AG’s
10               continued interference with MACOM’s contractual relationships with
11               Infineon AG’s affiliates;
12         O.    An award of restitution for all benefit wrongly reaped and retained as a
13               result of violations of the UCL;
14         P.    To the extent that the Court rules that the 2010 License Agreement is
15               void, invalid, or unenforceable as violative of the antitrust laws, or for
16               any other reason, an order that both the 2010 License Agreement and
17               the 2010 IP Purchase Agreement and Nitronex Patent assignments are
18               rescinded under Cal. Civ. Code § 1689, such that Nitronex retains title
19               to the Nitronex Patents and Infineon has no rights to or under them.
20         Q.    For attorney’s fees and costs;
21         R.    For pre-judgment interest on liquidated sums;
22         S.    For post-judgment interest on any money judgment until paid in full;
23               and
24         T.    Such other and further relief as this Court or a jury may deem just and
25               proper.
26                                    JURY DEMAND
27   MACOM demands a trial by jury as to all claims and issues for which a trial by
28   jury has not been waived by contract.
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 1
     DATED: June 20, 2018            PERKINS COIE LLP
 2
 3                                   By:/s/ Amanda Tessar
                                        Amanda Tessar (pro hac vice)
 4                                      ATessar@perkinscoie.com
                                        Elizabeth Banzhoff (pro hac vice)
 5                                      EBanzhoff @perkinscoie.com
                                        PERKINS COIE LLP
 6                                      1900 Sixteenth Street, Suite 1400
                                        Denver, CO 80202-5255
 7                                      Telephone: 303.291.2300
                                        Facsimile: 303.291.2400
 8
                                         Ramsey Al-Salam
 9                                       RAlsalam@perkinscoie.com
                                         PERKINS COIE LLP
10                                       1201 Third Avenue Suite 4900 - Mailstop
                                         43-52
11                                       Seattle, WA 98101-3099
                                         Telephone: 206.359.6385
12                                       Facsimile: 206.359.7385
13                                       Lara J. Dueppen, Bar No. 259075
                                         LDueppen@perkinscoie.com
14                                       PERKINS COIE LLP
                                         1888 Century Park East, Suite 1700
15                                       Los Angeles, CA 90067-1721
                                         Telephone: 310.788.9900
16                                       Facsimile: 310.788.3399
17                                       Philip A. Morin, Bar No. 256864
                                         PMorin@perkinscoie.com
18                                       PERKINS COIE LLP
                                         11988 El Camino Real, Suite 350
19                                       San Diego, CA 92130-2594
                                         Telephone: 858.720.5700
20                                       Facsimile: 858.720.5799
21
                                         Daniel T. Keese, Bar No. 280683
22                                       DKeese@perkinscoie.com
                                         PERKINS COIE LLP
23                                       1120 N.W. Couch Street, 10th Floor
                                         Portland, OR 97209-4128
24                                       Telephone: 503.727.2000
                                         Facsimile: 503.727.2222
25
                                         Morgan Chu (State Bar No. 70446)
26                                       (mchu@irell.com)
                                         Joseph M. Lipner (State Bar No. 155735)
27                                       (jlipner@irell.com)
                                         Ellisen Turner (State Bar No. 224842)
28
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                                         (eturner@irell.com)
 1                                       IRELL & MANELLA LLP
                                         1800 Avenue of the Stars, Suite 900
 2                                       Los Angeles, CA 90067-4276
                                         Telephone: 310-277-1010
 3                                       Facsimile: 310-203-7199
 4                                       Nima Hefazi (State Bar No. 272816)
                                         (nhefazi@irell.com)
 5                                       IRELL & MANELLA LLP
                                         840 Newport Center Drive, Suite 400
 6                                       Newport Beach, CA 92660
                                         Telephone: 949-760-0991
 7                                       Facsimile: 949-760-5200
 8                                       ATTORNEYS FOR PLAINTIFFS
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13
14
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